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APD

UNITED STATES DISTRICT COURT .
EASTERN DISTRICT OF MICHIGAN 0 "h

SOUTHERN DIVISION

Elizabeth Nelson
Et al Case No. 2:22-cv-10918

Plaintiffs
-VS- Magistrate: Anthony P. Patti

SERVICE TOWING INC FILED USDC - CLRK DET
et al. Defendants. 2023 SEP 13 px4:25

RESPONSE TO ECF 79, CONSOLIDATED WITH MOTION FOR SUMMARY
JUDGMENT INSTANTER OR VIA LEAVE

No. 17-1907 Smith, et al. v City of Detroit, et al. -6- inferences from that evidence
in the light most favorable to the non-moving party.” Id. (quoting Ciminillo v.
Streicher, 434 F.3d 461, 464 CA6). Government officials are immune from civil
liability under 42 U.S.C. § 1983, provided “their conduct does not violate clearly
established statutory or constitutional rights of which a reasonable person would
have known.” Pearson v. Callahan, 555 US 223, 231 “To determine whether..

government official. entitled to qualified immunity, ..analyze (a) whether.. facts,

when taken in ..light most favorable to ..party asserting ..injury, show .. officer’s

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“A constitutional violation is clearly established when “contours of the right..
sufficiently clear .. reasonable official would understand that what he is doing
violates that right.” Anderson, 483 U.S. at 640. Facts of complaint ECF must be
accepted as true. Per ECF6 amended complaint, ECF74 proposed amended
complaint facts must be accepted as true same rewritten herein. ECF 79 deposition
confirms facts in complaint that Ps’=Thrower , Nelson or PT=Thrower, ECF 71 Ex
2, depo Ex 7 annexed hereto PN=Nelson rented apartment @ 7568 Hudson Ave
Warren MI which included adjacent side lot 7560 Hudson Ave 5/1/20. ECF 74 “23
“On 5/1/20 ...Ds’..Scott, Cummins, Ghanam, Gauss #22, Bruce Hertz (see Ex 1
Admissions), Randy SULLIVAN (Ps’ were mislead as to his name-in 7/24/23
dep osition-hereinafter depo, by Service Towing Inc, Able Towing LLC hereinafter
STI attomey)...entered curtilage of property at 7568 Hudson..when courts were
open, covid..was raging..no court order was entered and no search was obtained
and..gov..(D) Fouts had issued emergency orders ..covid.. were in effect 5/1/20.”
(D) Scott admitted in Ex 1 Interrogatory “7) Where you present 5/1/20 @ 7568
Hudson Ave Warren MI and the adjacent lot when the 4 vehicles were towed
Response Yes”, yet in Ds’ brief claim he wasn’t present to argue immunity. The
law is clearly established in 4% Amendment of United States Constitution (USCA)
& applicable to states via 14" Amendment USCA. ECF 74 Facts “34) ..tow 4 cars

and take P-Thrower personal property,..4" USCA “right ofthe people to be secure

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in their persons, houses, papers, and effects against unreasonable searches and
seizures, shall not be violated, and no warrant shall issue, but upon probable cause,
supported by oath or affirmation”. 4 Amendment includes “curtilage” around
private property which is area visible from the porch (citation omitted). ECF 74
Facts “24)..per custom and policy ..city of Warren..consent decree NILI 2011 et al
v Warren 15-cv-13392, if refused “12. Equitable relief: city of Warren shall seek
an administrative warrant for such inspection” NIL] ECF 71 Ex 39. Ds’ have
reference Ex8 alleged blight ticket ECF 79, annexed hereto Ex 8 but a review of
that ticket, issued 1/22/20 was not for blight- but “failure to obtain certification” of
structure citing non-blight code. See Ds’ ECF 79 PageID1259 “21. ..the ‘failure to
obtain city certification” blight ticket...”, is false, a plain reading of ECF79 Ex 8
ticket was “failure to obtain city certification”, period, no “blight”. Code on ticket
Ex 8 is NOT for blight statute. Ps’ earlier briefed “blight statute unconstitutional”
but since no “blight ticket” was issued-it becomes moot-it is not court’s habit to
rule on constitutionality of blight statute when blight ticket is not before court.
(citation omitted). Further, in depo Ds’ attempt to make the most PT did not
appear Mar 4 20 hearing-to address the ECF79 Ex8 1/22/20 “failure to certify”
ticket. See ECF 79 Ex 8 1/22/20 “failure to certify” a property ticket has nothing to
do with 5/1/20 towing, and taking personal property without court order, without

probable cause, without warrant actions of Ds’ per well settled law that are now

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before this Court in spite of Ds’ attempt to boot strap -inference stacking into
“blight” into their ECF Ex 8 ticket-showing consciousness of guilt. A failure to
certify a property does not state as punishment that city can take all cars and
personal property off the property. Further, per record, the cars were taken as
abandoned under MI law abandoned car statute that on its face did not apply to
licensed, insured, plated cars registered to the 7568 Hudson Ave address. Per
ECF79 Ex 1 depo ECF79-2 Pageld 1281 depop 18:1In 17+, Ex 5: “A. Where’s the
ticket that goes with this?..March 4% 20” ((D) mayor, gov..& World Health
Organization at the end of February had already declared COVID a pandemic) “In
February she (PN) was up in Michigan, and I sent her down with cash to handle
this. Q. You’re pointing to (PN) Ms.. Nelson? (p 19 In 6) ..she said the place was
locked up, city hall was locked up, it was like a ghost town. Didn’t you say that to
me? (PN) Ms. Nelson: Yes, correct. (In 18) A. This hearing you’ re (allegedly)
holding when there’s a worldwide pandemic going on and I’m in Ohio getting
treated for prostate cancer?..is this guy a doctor..do they know what covid is at this
time? (p 20 In 13+) A. You expect me to come out of Ohio when the covid is
jumping off... never got this ticket..This is when people are dieing..(p 20) nobody
knows what covid is going to do. It could have killed the ..population on the face
of the earth..in 1920 the great flu...killed 40 million people...This was equivalent to

this..”. Court can take Judicial notice covid killed as of 9/11/23 US=1,127,152,

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6,956,887 officially worldwide & 16.5 million worldwide unofficially. Ds’
attomey (p 21 In 17+-22) appear to have no knowledge that Warren property code
was earlier declared unconstitutional. (In 25) “Q. So was it a settlement or was it a
ruling by the (p 22) court? A. It was a settlement. NILI v Warren..because there
was no appeal process....never notified me .. revamped the code..come out in the
middle of covid to appear at this hearing for ..revamped code that was declared
unconstitutional ..city agreed it was unconstitutional..use in my brief’. In Mullane
v. Central Hanover Bank & Trust Co., 339 US 306 Court held NOTICE was not
US Constitutionally delivered because individuals named in the combined trust
were not notified in a US Constitutional manner” No notice was given to Ps’
before PN 4 cars were towed, PT personal property taken 5/1/20. It is the taking of
Ps’ cars, personal property without constitutional notice that is in violation of the
US Constitution providing “meaningful notice and an opportunity to be heard”,
that is US Constitutional violating alleged. 4" USCA well settled law includes
cars. 144 USCA protection of property has been broadly extended to "any
significant property interest." Boddie v Connecticut, 401 US 371, 379, it’s
undisputed.. uninterrupted use of one's vehicle is a substantial property interest, ..
before the ‘local government may so interrupt its use, the owner is entitled to due
process" Graffv Nicholl, 370 FS 974, 981; Bell v Burson, 402 US 535, 539. (Ds’)

allege ECF 79 Pageld.1271 “property removed May 1, 20 and July 2021 was

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removed pursuant to a court order”. This is false. There was no court order 5/1/20
& the 7/21 date has nothing to do with the facts in this complaint. Per facts ECF 6
supra same as if rewritten herein (D)s’ violated (Ps’) well settled law 4, 14" USCA
rights, searching property, seizing personal property & 4 cars. Hence, Ds’ cannot
claim immunity for improper seizure prohibited by 4th Amendment. “Goals 4th
Amendment include protection of privacy against arbitrary invasion” US v Ortiz,
422 US 891, Chimel v California, 395 US 752; Berger v. NY, 388 US 41, .. made
clear Jacobsen, supra, explained 1st clause of 4th Amendment "Protects two types
of expectations, one involving ‘searches,' the other ‘seizures.’ ‘search’ occurs when
an expectation of privacy that society is prepared to consider reasonable is
infringed. A ‘seizure’ of property occurs where there is.. meaningful interference
with an individual's possessory interests in that property."466 US @ 113. Horton
v California, 496 US 128, 133; 4th USCA applicableto Ps’ via 14th amendments
due process clause. (Ps’) aver both “search” & “seizure” rights were violated when
(Ds) entered (Ps’) leased property-at 7568 Hudson Ave-a 4 unit-built in 1940
(judicial notice per Ds’ records) including “mother-in-law suite grandfathered in
before Warren was a municipality 1957 (sign city hall), same was a “search”, &
“seizure” 5/1/20. “right to sell and occupy one’s residential home in Michigan is

not merely a ‘government benefit’, but rather, it is an extension of one’s private

property rights—tights recognized by the Michigan Constitution & Mich..

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Supreme court as ‘fundamental’” including curtilage. (citation omitted). Ex 5,
ECF79-2 Pageld. 1282 depop 22 In 11+ Q: ..so the cars on the Hudson property,
those belong to Ms. Nelson, correct? A. Exactly (In 15+) Q. So did she have
permission to store the cars on the property? A. ..she was a renter there, and..part
of renting gave her access to both lots..they’re side by side lots (p 24 In 22-25) A.
Well in a conspiracy you need one overt act. So the cars were towed..that’s the
overt act..I know it’s fairly easy to get titles for cars to auction them off (p 25 In
4+) ..there’s an implicit agreement that we’re going to tow these cars and we’re
going to auction them off..the covid is jumping off, so it looks like a conspiracy to
me..” Ex 7 7-24-23 depoPN pg 10 In 14Q. So..Mr. Thrower purchased four cars
and putthem in your name? A. He told me to buy them.. (p 33 In 16) A: I never
received a notice”, (p 46 In 8+) A: ..they just towed the cars,...should not of done
that, period, that’s it..they were plated, titled, and all that so they shouldn’t have
been touched, period”. PN stating 4, 14% Amendment claim under oath. Knick v.
Township of Scott,588 US ___ (2019) The issue in Knick is how the courts treat a
“taking” of private property for public benefit. 5 USCA says: “nor shall private
property be taken for public use, without just compensation”. Since 4%
Amendment law is well settled, the Ds’ cannot claim immunity from their actions.

As noted supra, (D) Scott-Supervisor admitted in Interrogatory 7 Ex 1 to being

present 5/1/20 when cars towed, ID’d Doe Gauss #22 wrote ticket 5/1/20, ECF 71

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Ex 34, 46, See Fizer v. City of Warren Aug25, 2021 2:19-CV-11193-TGB-MKM
08-25-2021 to show how courts show 1) if law is well settled not immune (D)
Scott, ID’ d-Doe-Gauss pending amended complaint 2) shows “pattern, custom &
practice” of city Warren (Ds’) violating USCA rights. Per Ex 1 (D) Scott
Admission, Ex “7) Where you present 5/1/20 @ 7568 Hudson Ave .. when ..4
vehicles were towed. Response: Yes, 1) Admit that there was privacy fence on the
adjacent lot to the 7568 Hudson Ave Warren MI..5/1/20 when you towed the cars
A...admitted that there is a fence on the property adjacent to 7568 Hudson Ave”.
The 4" USCA has cited “privacy fence”, delineating “curtilage” as observable
from property porch-within scope of 4" USCA. Per Interrogatories Ex 4, 9, 10 D’s
Bruce Hertz, Dennis Hertz, Randy Sullivan (misled as Hertz) admit to towing cars
from 7568 Hudson Ave per facts in complaint being called city Ds’. Per ECF 74
proffered amended complaint Ex 1=lease of PT, ECF 74 Ex4 shows | car on drive
5/1/20 & no personal property as ECF 71 Ex 32, 33 shows PT “personal property”
removed by Ds’ per facts of complaint. Incidentally, ECF 74 Ex 3 p 1-4 Ds STI,
Hertz Bros Invoices show who towed cars 24D) Randy (Sullivan), 1 D-Bruce
Hertz, 1 D Dennis Hertz, & all show “falsified address” of 7528 Hudson Ave, and
show “Caller name: Code enforcement, Warren police dept & Incident #’s which is
proof Warren Police were involved-in spite of Ds’ denials. Per PT aff t Warren PD

Van Dyke substation officer said “if incident report is on paperwork-Warren police

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are involved & ran incident #-& said yes, this comes back to us”. These Invoices,
all cars owned by PN & 2 showing 7568 Hudson Ave address. Per ECF 71 Ex 36
PT affidavit, tenant Branson said “Warren police were involved”. “Unreasonable
searches are unlawful, .. rule, a warrantless search of a home or business is
presumptively unreasonable” Kentucky v King , 563 US 452, 459, "administrative
scheme must give property owner chance to challenge a warrantless search request
before being sanctioned for refusing entry." Ibid. “Otherwise, without the
opportunity for precompliance review, there exists an ‘intolerable risk’ that
searches authorized by an ordinance will exceed statutory limits or be used as
pretext to harass individuals” Patel , 135 SCt @ 2452-53. MS Rentals, LLC v. City
of Detroit, EDMI. Ds’ falsified address 4 vehicles were towed from as
concealment-to show conspiracy, police refused to allow (Ps) to file a police report
towing & falsification ofaddress on paperwork to meet statutory definition of MI
Abandoned vehicle. (Ps) allege “custom and policy” perpetrated by (Ds’) Dwyer,
Fouts, Michaels, Scott policymakers. Monell v. Department of Soc Serv New York,
infra which created a narrow pathway for civil rights plaintiffs to seek money
damages against a city. Pembaur v Cincinnati, infra “Monell reasoned that
recovery from a municipality is limited to acts that are, .. acts ‘of .. municipality’ -
that is, acts which .. municipality has officially sanctioned or ordered..” Supreme

Court has defined 4.. avenues by which a plaintiff can allege unconstitutional

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actions are “of the municipality.” 1st (P) may allege that .. entity has an
unconstitutional policy. These policies may be written or unwritten, so long as they
can properly be attributed to a “policymaker.” Ps’ allege per filings and facts
“entity (D) Warren has an unconstitutional policy” &/or towing cars for blight,
abandoned. “policymakers are .. elected officials or those defined as policymakers
by state law. This avenuealso provides a standard of causation: if a subordinate
employee is the party responsible for the deprivation of rights, the local entity may
only be responsible if a certain policy was a “moving force” behind their action. .
2nd a local entity may be liable under § 1983 for unconstitutional customs and
practices. This avenue can be advantageous to a civil rights plaintiff when no
policymaker can be identified. ... 3) if a policymaker delegates .. authority to a
subordinate employee or explicitly approves of unconstitutional actions, the act can
be said to be “ofthe municipality” by adoption. 4) civil rights plaintiff may allege
deliberate indifference. This avenue applies to single-incident-type injustices and
concerns the city or county’s failure to hire, train, or supervise its employees.
Deliberate indifference liability attaches when policymakers of the local entity are
aware of a very large risk and grossly neglect to address it. Blatantly
unconstitutional policies are rarely authorized by city councils .. admissible
evidence proving policymaker authorization or adoption of subordinate emp loyee’s

unconstitutional action is often non-existent. Ps’ aver (Ds’) Dwyer, Fouts

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alleges=final policymaker acted under color of state law; 2) acts of (D) Dwyer,
Fouts final policymaker deprived (Ps’) rights under USCA. 3) (D) Dwyer, Fouts,
Michaels, Scott final policymaker had final policymaking authority from defendant
City Warren concerning these acts 4. when (Ds’) Dwyer, Fouts, Michaels, final
policymaker engaged in these acts, he was acting as a final policymaker for (D)
city Warren; and acts (Ds’) Dwyer, Fouts, Michaels, final policymaker caused the
deprivation of plaintiff's rights; that is, the (Ds’ Dwyer, Fouts, Michaels final
policymaker’s acts.. so closely related to the deprivation of the plaintiff's rights as
to be moving force that caused ultimate injury. A person acts “under color of state
law” when the person acts or purports to act in the performance of official duties
under any state, county, or municipal law, ordinance or regulation. Monell liability
is based on the acts of a final policymaker. For other bases of Monell liability,
Unlawful Official Policy, Practice, or Custom... Based on a Policy that Fails to
Prevent Violations of Law or a Policy of Failure to Train Monell v. Dep't of Soc.
Servs. of N.Y., 436 US 658, 691. Such liability may attach when official or
employee who caused a constitutional violation was acting as a “final
policymaker” Lytle v. Carl, 382 F.3d 978, 981, St Louis v Praprotnik, 485 U.S.
112, 123 ..determination is made on a function-by-function approach analyzed
under the state organizational structure. A “policy” is a deliberate choice to

follow a course of action made from among various alternatives by the official or

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officials resp onsible for establishing final policy with respect to the subject matter

in question...even if constitutional violation occurs only once. Pembaur v Cinci..

475 US 469, 478 &n.6. “municipality is also liable if a policymaking official
fully delegates his.. discretionary authority to a subordinate, and ..subordinate uses
that discretion (I.e. (D) Scott, Gauss #22). St Louis v Praprotnik, Id. “official may
be found .. delegated final policymaking authority when the official’s discretionary
decision is unconstrained by policies not of that official’s making and
unreviewable by.. municipality’s authorized policymakers”. ECF 71 Ex 15
10/12/22 Detroit free press “This video is sickening, ...Detroit teen punched,
kicked by Warren Police” Warren police kick and punch black youth shows
pattern. Either (Ds’) Dwyer, Fouts, Michaels “deliberate indifference” of his
mayor, police commissioner post, city attorney or condones this illegal behavior.
Warren police chief (D) Dwyer Mission statement ECF 71 Ex 18 pg. 3/8
“Professional Ali members of the Department will conduct ..Jn a manner that is
consistent with professional standards for performance, both on and off duty.
These standards include adherence to our mission (4/8) and other core values. We
perform our roles ethically and with integrity as we represent the Warren Police
Department, regardless of the circumstances” (Ds’) Dwyer, Fouts, Michaels, Scott,
police involved in (P) facts does not comply with warren police department

mission statement. (Ps’)avers (Ds) Dwyer, Fouts puts same on paper, but have

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“custom and policy” of letting his officers break the law. (Ps’) were never served
notice of any infraction in re cars PN avers she was never served NOTICE any
alleged car infraction & Ds’ have never alleged notice to PN, being a renter @
7568 Hudson - a listed multi unit structure w city -any alleged notice was defective
under 4, 5, 14th USCA=did notinclude(PN)name owner of 4 vehicles 5/1/20. ,
ECF 71 Ex 2 PN lease. ECF 71 Ex 36 Aff't (PT) ECF 71 WHO (World Health
Organization) declared COVID 19 a Worldwide Pandemic 2/20 per facts-accepted
as true Ps’ allege Ds’ caused a “state created danger” SCD re covid ECF 74 8™
Cause of action proffered amended complaint restating ECF 6, per facts rewritten
herein-adding (D) Gauss #22 who wrote 5/1/20 ticket ECF 71 Ex 34, 46 , “Ds’
violated Ps’ Constitutional rights. .USCA 5, 14" Amendment, 42 USC 1983, 1985,
1988 ..Kallstrom v Columbus, 136 F3d 1055, 1060 CA6, 42 USC Sec 1983
“state,,may not cause or greatly increase. .risk ofharm..citizens without due process
of law” 1066. Ps’ claim (D) Scott, Ghanam, Cummins, Gauss, policymakers
Dwyer, Fouts, Michaels, city Warren, STI, Hertz Bros acting in conspiracy,
concert “state created danger” theory of liability..state..increased ..risk..mdividual
will be exposed to ..acts of (danger)”..show 1) affirmative act by the state (tow cars
during covid pandemic) increased risk.. (Ps’) would be exposed to..2) special
danger (covid) .. state knew or should have known that it’s actions specifically

endangered Ps’ Jones v Reynolds, 438 F3d 685, 690 Harlow, 457 US 818 “court

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stated that an ‘individual’s interest in preserving her life is one of constitutional

dimension” Kallstrom Id @ 1063. Per depo Ex 5: PT manager properties since
2012, dealt with city, Scott, Cummins Ex 6, 2015 Invoice-when Warren Code was
unconstitutional, PN paying inspection fee-corroborates her testimony ECF79-2
Pageld.1281 p 18 In 19+ Thrower A: ..First of all, March 4%, the mayor,

..governor and World Health Organization at the end of February, they had already

declared COVID a pandemic,...in February she (PN) was up in Michigan, and I
sent her down with cash to handlethis.Q. You’re pointing at Ms. Nelson? (p 19)
A. Ms. Nelson WITNESS: And didn’t you tell me—she said the place was locked
up, it was like a ghost town. Didn’t you say that to me? (In 9+) Ms. Nelson: Yes.
Correct. (In 18+) A. This hearing you’ re holding hearings when there’s a
worldwide pandemic going on and I’m in Ohio getting treated for prostate
cancer?”’. The Mar 4 20 hearing was for the Ds’ Ex 8 1/22/20, annexed hereto as
Ex 8, ticket for “failure to certify”, which if PN could have paid the inspection fee
would not have taken place, but city hall was “locked up like a ghost town”, Id.
The ticket had 0 to do w blight or this case. Ex 3 PT paying $3950 fines shows..
Ds’ knew PT was then 64 yrs. old, at “at risk” individual for covid. Per running
plates car owner PN-then 52 yrs. old “at risk” person, cancer survivor meets “at
risk” criteria, covid emergency orders in effect per facts same rewritten herein. If

not “egg-shell” liability theory applies. Ps’ allege Ds’ knew, or should have known

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that Ds’ Fouts, Dwyer, Scott, Gauss actions towing the cars would cause Ps’ to exit

self-isolation to retrieve same. Per ECF 71 Ex 3 “Governor Executive order 2020-

21 Temporary requirement to suspend activities that are not necessary to sustain

or protect life-..to suppress the spread of covid-19, to prevent state's health care

system from being overwhelmed, ... to avoid needless deaths it is necessary to

direct residents to remain at home or in their place of residence to the maximum
extent feasible 1 This order must be construed broadly to prohibit in-person work
that is not necessary to sustain or protect life.”” The gov orders are clear. (D) Fouts
entered identical orders in spite of Ds’ STI, Hertz Bros answers to interrogatories

to contrary common sense dictate that PN could not have retrieved 4 cars herself

without PT assistance. Per depo-PN stated PT “provided the monies for the cars”

showing PT had an interest in same in spite being in PN name. ECF 71 Ex 31 6-1-

14 Lease PT, for 7568 HudsonAve. Again, Ds’ Fouts, Dwyer, Scott, Gauss knew

or should have known Governors, (D) Mayor Fouts-identical orders were in effect,

knew or should have known not to tow cars No. 17-1907 Smith, et al. v. City of

Detroit, et al. -6- inferences from that evidence in the light most favorable to the
non-moving party.” Id. Ciminillo v. Streicher, 434 F3d 461, 464 (6CA).
Government officials are immune ..civil liability under 42 USC §1983, provided

“their conduct does not violate clearly established statutory or constitutional rights

of which a reasonable person would have known.” Pearson v. Callahan, 555 U.S.

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223, 231 “To determine whether a government official is entitled to qualified
immunity, we analyze (a) whether the facts, when taken in the light most favorable
to the party asserting the injury, show the officer’s “A constitutional violation is
clearly established when “.. contours of the right ..sufficiently clear .. that a
reasonable official would understand that what he is doing violates that right.”.
ECF71 Ex 19, 37® District Court Tsp Pageld 1087, p 3 Tsp Court: Say your
name..SCOTT: Robert Scott, Director of Property Maintenance, City of Warren”
Pageld.1088 (In 1-2) (D) “Scott: Because the state law will not allow them to evict
(renter Branson) out..”. Yet, (D) Scott, per Ex 1 interrogatory 7, admits to being @
7568 property when cars towed 5/1/20 & amended (D) Gauss-works under (D)
Supervisor Scott writing 5/1/20 ECF 71 Ex 34, 46 ticket during covid-towing cars
acting in conspiracy, concert=“1 overt act” to violate the law with private (D) STI
tow co. (D) Hertz Bros concealing same by falsifying address -2"4 overt act, STI,
Hertz Bros, Randy Sullivan (Ds’), exposing (D) Scott, proffered (D) Gauss “failure
to train”, “deliberate indifference” , unconstitutional policy, Davis v Brady, 143
F3d 1021, 1022 (EDMI\6CA), police stopped a drunk driver on the road but did
not take him into custody. Instead, the police took.. driver’s keys but left him on a
dark, busy highway. The intoxicated driver collided.. vehicle and .. injured. court

found government liable under the SCD doctrine for putting the driver in danger..

it has consistently .. been the rule that a constitutional claim arises when the injury

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occurred as a result of the state's deliberate indifference to the risk of such an
injury. Farmer v Brennan, 511 US 825, 834. Ps’ per depo upon learning cars were
gone decided to protect their interest ECF 71 Ex 63 p 1-4 invoices, Ds’ STI, Able
Towing, Hertz Bros state actors per admissions Ex 4, 9, 10 before sold thru
falsified address as “7528 Hudson”, paperwork as “abandoned”, Ex 63 Id., p 1-4.
Although Ps’ were not injured, they incurred expenses and were exposed to injury
& had to violate law-to retrieve cars. Ps’ exiting self-isolation, being “at risk”,
travel from Cuyahoga County, OH, low covid county 5/2/20, to Macomb County-
high covid county to retrieve vehicles. Towed because policymakers (D) Fouts,
Dwyer & city employees Scott, Gauss, et al. PT was being treated 5x week prostate
cancer ECF 71 Ex 35 p 1-3, PT had personal property taken, had an interest in 4
vehicles per depo & PN could not retrieve cars herself-& 5/1/20 Ps’ did not know
what happened to cars. Rather than “protect the lives” of Ps’, Ps’ were exposed to
covid rate 7x ECF 71 Ex 5 p 1-2 higher rate Macomb County ECF 71 Ex 6, 16x death
rate comparing Cuyahoga County & exponentially more risk of death/exposure since
Ps’ were self isolating. PN then 52-ECF 71 Ex 41 license was told by E Mich
University Dr ECF71 Ex 4 p 2, Ex 11 aff't “stay in OH-things are crazy in MI due to
covid”. D’ failed to follow covid emergency guidelines set forth by gov & (Ds)
Fouts, Dwyer. Per pattern city (D) Warren, Howett v Warren, 17-cv-11260, p 2/51

“Howlett alleges ..harassment occurred ..due to ‘customs, practices and policies ..exist

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in ..city of Warren and its municipal departments..1991 ..United States again sued
..city of Warren ..failed to correct the issue...”, to show “customs, practices and
policies”. See (D) Fouts Press Release 2/26/20 ECF 71 Ex 23, “We have implemented
a public health management decision making training for all police ...covid (p3)
residents can feel at ease knowing their health and well being..number one
priority.. Commissioner Dwyer..ensure your safety”, policymaker’s (D) Fouts, Dwyer,
ECF 71 Ex Q p3 Duties of Mayor Fouts, “enforcement of ordinances..”. (D) Fouts had
issued identical order as gov-per the record in re covid, yet deliberate indifference,
unconstitutional policy, failure to train had municipal Ds’ Scott, Gauss, Doe police

towing cars off private property 5/1/20.

ECF 71 Ex 22, Cuyahoga County Exec “Summer 2020..covid crisis..worst crisis we
shave lived through”, yet Ds’ Scott, Gauss, STI, Hertz Bros are out towing cars.
Monroe v Pape, 365 US 167, 174-76 “non state actors can..engage in conduct ‘under
color of state law’..subject to liability under..Sec 1983 where they ‘acted jointly’ or
conspire with state. .officials”, as set forth in complaint. Per Invoices, Admissions,
STI, Hertz Bros towed the cars after being called by (D) City Warren officials. 2:21-
cv-10446 ECF! Pageld18 filed 2/26/21, p 18/26 “Warren to implement proper
training for Warren Police ..city workers....Warren historically failed to train..”

Moldowan v Warren, 157 F3d 351, 393-4.

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Wherefore, per facts, accepted as true, Ps’ are tenants 7568 Hudson Ave Warren MI
48091 5/1/20. (Ds’) Scott, STI, Hertz Bros, Randy Sullivan towed 4 cars without any
notice, without any ticket written for same, took personal property-when Gov, (D)
Mayor had issued emergency covid orders, “harbor in place”. Ps’ upon learning cars
were missing had to exit self-isolation, travel to Warren MI a then higher covid
infection county, enter 8 ft x 8 ft waiting room-with others ignoring 3x5” sign, again
exposing to covid to retrieve cars. The address the cars were taken from was falsified
on all 4 invoices to 7268 Hudson Ave. Ps’ tried to file a police report 7/21 in re
falsification of cars and towing of same which was refused by Doe Warren police. Ps’
allege in the least 4%, 5, 14% Amendment US Constitution were violated. The 4%
Amendment is well settled law, the Ds’ tow company acted in concert with state
officials, at the minimum (D) Scott, who admits to being at the property 5/1/20,
proffered amended complaint (D) Gauss who wrote ticket 5/1/20 “occupying
uncertified structure” to tenant Branson, who (D) Scott-being present, admitted in
eviction hearing “could not be evicted because of state law (covid)”. The falsified
address, itself a crime, shows efforts to conceal facts, coverup by (Ds’) STI, Hertz
Bros, conspiracy for illegal towing of cars. Ps’ had a right to file police report to
report a crime of the “falsified address”. Ds’ knew or should have known the towing
of cars would force “at risk” Ps’ to exit self-isolation to retrieve same creating a

SCD (state created danger) situation, with covid pandemic raging. Hence, Ps’

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pray that Ds’ Scott immunity claim be denied, the amended complaint allow to

proceed, and set the matter for trial.

LAE. ea
Albert Thrower pro’se “Left LA LS pro’se

CERTIFICATE OF SERVICE

A copy of this brief has been served on all parties this 9/12/23 email and USPS post

MEAD Law Rachel Selina
PO Box 806042 255 E Brown St #320
St Clair Shores Co] en MI 48009

bert Thrower pfo’se Elizabeth Zp em — pro’se
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INDEX OF EXHIBITS
Interrogatories/Admissions of Defendant Scott

PT receipt paying city of Warren MI $3950 fines

Lease PT Albert Thrower

Ex 1

Ex 2

Ex 3

Interrogatories/Admission (D) Bruce Hertz-admit towed 1 car Ex 4

Tsp of 7/24/23 Deposition Albert Thrower

2015 City receipt, PN paying inspection fees

Tsp of 7/24/23 Deposition Elizabeth Nelson

Ds’ Exhibit 8-ticket 1/22/20 -failure to certify-not blight

Interrogatories Dennis Hertz-admitted towed 1 car

Interrogatories Randy Sullivan-admitted towed 2 cars

Affidavit of Elizabeth Nelson

Ex 5

Ex 6

Ex 7

Ex 8

Ex 9

Ex 10

Ex 11
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EXHIBIT 1

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37th District Court
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Warren, MI 46053
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Case 2:22-cv-10918-MFL-APP ECF No. 82, PagelD.1566~ Filed 09/1 FRE 29> By eL-PBa Sey Aaees. tae.

psniiord
att. RENTAL AGREEMENT

THIS IS A LEGALLY BINDING CONTRACT.

a ™ IF NOT UNDERSTOOD: T AN ATTORNEY.
The Tenant(s) known as A Lh ent Ag pow

fo hereby agree to rent the dwelling 7), ff

Pi Pai lak ben 1-4 Apretmin tl yaesew. mi

afe to be occupied by the above named tenants 6nly. Tenant may not sublet premises. a)

TERM The term shall commence on 6a - l- / Y ,at$__ {00 ___ per month payable on the
l of each month in full. :

LATE FEES in the event rent is not paid by the DA (_Sth) day after due date, Tenant agrees to pay a late
charge of $ :

UTILITIES _Jeniht chal bo resporleibie 12 tor the payment of the following utilities: water, electric, gas, heating fuel,
Telephone. . .

APPLIANCES Appliances provided in this rental are: stove, refrigerator, dishwasher, washing machine, dryer, _air
conditioner(s), :
Repairs will be bom by said Tenants if damage is due to negligence of Tenants.

SECURITY Amount of security deposit is $.-——~ . Security shail be held by Landiord until the time said
Tenants have vacated the premises and Landlord has inspected it for damages. Tenant shall not have the right to
apply Security Deposit in payment of any rent. Security deposits must be raised proportionately with rent increases.

INSURANCE Tenant is responsible for liability/fire insurance coverage on premises. Tenant agrees to obtain a
"Renter's Insurance” policy and to provide Owner or agent with a copy of policy within seven (7) days of lease
execution.

e
NOTICES Should tenant decide to vacate the premises, a /OQ__ day written notice to the landiord is required.
Should landlord decide to have tenants vacated, a /{2_ day written notice is required. Tenant agrees to allow
premises to be shown at any and all reasonable times for re-rental.

REAL ESTATE COMMISSION (If applicable) In the event a commission was eamed by a real estate broker, Tenant
shall not take possession of the premises unless all fees due broker are paid in full as agreed. Commission is payable
when this lease is signed by the Tenant(s). It is solely for locating the rental for the Tenant and is not refundable under
any circumstances regardless of any disputes or conditions between the Landlord and Tenant before or after
occupancy is taken.

ACKNOWLEDGMENT Tenants hereby acknowledge that they have read, understand and agree to all parts of this -
document, and have received a copy.

AMOUNT RECEIVED BALANCE DUE
RENT : Loo
SECURITY:
BROKER'S FEE:

+ ev reper ent DAK
eh

LLG BSC6+LEZL
2/6 257-3893

Plaintiffs,
-V-

SERVICE TOWING, INC., ef al.,

ELIZABETH NELSON and ALBERT THROWER,

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISON

Case No. 2:22-cv-10918
Hon. Matthew F. Leitman

pursuant to F.R.Civ.P. 3

follows:

Warren MI address 5/1/20 when you towed

RESPONS

reasonable inquiry and the information

NOW COMES Defendant BRUCE HERTZ, by

6 and hereby responds to Plaintiffs’

17. Admit that there was a privacy fence on the adjacent lot to
the 4 cars. ADMIT/DENY

E: Defendant Bruce Hertz cannot truthfully admit or den
defendant knows or can readily obtain is insufficient to

Defendants.
/

Elizabeth Nelson Jennifer Mead (P57106)
P.O. Box 1422 P.O. Box 806042
Warren, MI 48090 St. Clair Shores, MI 48080
In Pro Per (313) 485-1250

Attorney for Service Towing, Inc.
Albert Thrower Defendants
P.O. Box 602637 meadjenn@hotmail.com
Cleveland, OH 44102

Rachel C. Selina (P85430)

255 E. Brown Street, Ste. 320

Birmingham, MI 48009-6209
(248) 645-9680 rselina@berrymoorman.com

DEFENDANT BRUCE HERTZ’S

ANSWERS TO PLAINTIFFS’ REQUESTS FOR ADMISSIONS

and through undersigned counsel,

joint Requests For Admissions as

the 7568 Hudson Ave

y this request as after a

=x 7

Case 2:22-CV- - . OS
y v-10918-MFL-APP ECF No. 82, PagelD.1567 Filed 09/13/23 Page 29 of 95
Case 2:22-cv- -
ase 2:22-cv-10918-MFL-APP ECF No. 82, PagelD.1568 Filed 09/13/23 Page 30 of 95

enable defendant to admit or deny. As part of the inquiry, defendant rev iewed plaintiff's Exhibit
N, which is plaintiff's picture of a wooden fence but plaintiff's photo is so blurred and light that
one cannot see precisely where the wooden fence is (or on which property it is located).
18. Admit that all 4 vehicles towed from the 7568 Hudson Ave Warren MI 48091
is and the adjacent lot had Michigan license plates attached to them ADMIT/DENY
"\RESPONSE: Admit.
19. ADMIT/DENY that a vehicle owner under Michigan law cannot obtain license
plates without showing proof of full coverage insurance
RESPONSE: Deny as a vehicle owner can obtain license plates by showing proof of no fault,
which is less coverage than “full coverage insurance”.
+ 44. Admit that ALBERT THROWER recovered 4 vehicles that were towed from
Ly 568 Hudson Ave Warren MI 48091, 5/2/20, 5/3/20 ADMIT/DENY
RESPONSE: Admit after a review of the towing invoices.
45. Admit that when ALBERT THROWER was in the SERVICE TOWING, INC.,
ABLE TOWING LLC office 5/2/20 that a black lady entered the office AFTER THROWER
ENTERED OFFICE and the black lady was not told to wait outside by you or anyone elese
working in the office. ADMIT/DENY
RESPONSE: Defendant cannot truthfully admit or deny this request as after a reasonable
inquiry, there is no recording or document which supports plaintiff's request. The information
known to defendant or that he can readily obtain is insufficient to enable defendant to admit or

deny.

Ex
P 2
Case 2:22-cv-10918-MFL-APP ECF No. 82, PagelD.1569 Filed 09/13/23 Page 31 of 95

71. | ADMIT/DENY that ELIZABETH NESLON would need a “helper” to retrieve 4

vehicles that were towed by SERVICE TOWING, INC., ABLE TOWING LLC and or Hertz

Yo

Bros defendants 5/1/20 FROM 7568 Hudson Ave Warren MI 48091
RESPONSE: Denied, as plaintiff Nelson could travel to Service/Able Towing and redeem the

vehicles herself.
g

91. ADMIT/DENY that two of the vehicles towed 5/1/20 from 7568 Hudson Ave CL
&

Warren MI 48091 were on the concrete drive. 2

RESPONSE: Denied, as to the best of defendant’s knowledge, information and memory, the
vehicles were parked on the grass.
92. | ADMIT/DENY two of the vehicles were taken from behind a privacy fence
RESPONSE: Defendant cannot truthfully admit or deny this request as after a reasonable
inquiry and the information defendant knows or can readily obtain is insufficient to enable
defendant to admit or deny. As part of the inquiry, defendant reviewed plaintiff's Exhibit N,
which is plaintiff's picture of a wooden fence but plaintiff's photo is so blurred and light that one
cannot see precisely where the wooden fence is (or on which property it is located) in order to
refresh his memory as to the location of each vehicle. Defendant’s best memory is that each
vehicle was parked on the grass and is unable to recall if any vehicle was behind a privacy fence.
—~ .
! 94. | Admit/Deny that you entered the property 7568 Hudson Ave Warren MI 48091
5/1/20 and towed 4 vehicles without ever seeing a search warrant
| RESPONSE: Defendant admits that on 5/1/20 he, on behalf of the company, only towed 1 of the

ne —emereretrntetatoaatl,
4 vehicles (and denies that he towed 4 vehicles) and that he did not see a search warrant but in

| practice and custom, law enforcement does not normally show towing companies search

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| svar

P? =x

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Albert Thrower
07/24/2023

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

ELIZABETH NELSON and
ALBERT THROWER,

Plaintiffs,

-vs- Case No. 2:22-cv-10918
Hon. Matthew F. Leitman

SERVICE TOWING INC., ABLE
TOWING LLLC, EDWARD D. HERTZ,
President, DENNIS HERTZ,
Treasurer, BRUCE HERTZ,
Secretary, SANDRA HERTZ,
Resident Agent RANDY (JOHN DOE)
Driver, Truck 210, BRUCE
(JOHN DOE) Driver, Truck 210,
DENNIS (JOHN DOE), Trust 162,
JOHN DOES 1-3, City of Warren
Property and Maintenance Employees,
2 ZONING DEPARTMENT EMPLOYEES,
City of Warren, JOHN DOES 1-3,
JOHN DOES 1-4, Warren Police
Department Policemen, CITY OF
WARREN, JOHN DOE, Warren Chief
of Police, JAMES FOUTS, Mayor,
ROBERT SCOTT, Supervisor:
Property and Maintenance
Division,

Defendants.

The Deposition of ALBERT THROWER,
taken before me, Theresa L. Roberts, Certified Shorthand
Reporter (CSR-4870) and Notary Public in and for the County
of Oakland, State of Michigan, at 255 Hast Brown Street,

Suite 320, Birmingham, Michigan, on Monday, July 24, 2023,

noticed for 10 a.m. 5

SPN NI@) NE ISI NP NiSsoy NN Nie@dsae Hansonreporting.com
TREE Cousrreronrensavies = 313.567.8100

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Albert Thrower

07/24/2023 Pages 2..5
Page 2 Page 4
2 tn pro Se. ALBERT THROWER Birmingham, Michigan
: P.O. Box 6702 2 Monday, July 24, 2023
3 Cleveland, Ohio 44101 3 (At about 10:12 a.m.)
(216) 856-6626 4
° In Pro Se: ELIZABETH NELSON 5 ALBERT THROWER
5 avcen. Michigan saos0 6 after having been first duly sworn to tell the
6 (313) 319-7370 7 truth, the whole truth and nothing but the truth,
7 For Defendants BERRY MOORMAN, P.C. 8 was examined and testified upon his oath as
, Suey ee arens wy petal 6 games eg onsen) 19) follows
Birmingham, Michigan 48009 10 DIRECT EXAMINATION
° reel inasborsynoorman com ! BY MS. SELINA:
10 12 Q. Can you please state your full legal name for the
For Defendants LAW OFFICE OF JENNIFER E. MEAD 13 record?
11 Service Towing By: Jennifer E. Mead, Esq. (P57106) 14 A. Albert Dudley Thrower.
and Able Towing: P.O. Box 806042
12 Saint Clair Shores, Michigan 48080 15 Q. Okay, Mr. Thrower.
b nena ee a 16 MS. SELINA: Let the record reflect this
14 ALSO PRESENT: Ethan Vinson, Esq. (P2608) 17 is the date and time for the deposition of
15 18 Albert Thrower taken pursuant to notice and for all
19 purposes under the Federal Rules of Civil Procedure
18 20 and Federal Rules of Evidence.
19 21 BY MS. SELINA:
22 Q. Mr. Thrower, my name is Rachel Selina. I represent
22 23 the city of Warren defendants in this matter. Have
nt 24 you ever had your deposition taken before?
25 25 A. Yes.
Page 3 Page 5
1 T ON pF X 1 Q. Okay. I am just going to go over a few ground rules
2 PAGE | 2 though. You understand that even though there is
3 Direct Examination by Ms. Selina 4 | 3 not a judge present and we're not in court, you're
4 Cross-Examination by Ms. Mead 32 4 still under oath, correct?
5 5 A. Correct.
é 6 Q. Okay. And as we mentioned earlier, the court
? 7 reporter is transcribing everything that we're
8 BxRuTeportTs 8 saying, so | would appreciate if you'd give a verbal
3 DESCRIPTION PACE | 9 response rather than like a head nod or an "uh-huh"
10 Deposition Exhibit No. 1 Admin Hearing Bureau Order 17 10 or something like that. Do you understand?
11 Deposition Exhibit No. 2 Rental Agreement 36 | 41 =A; Yes.
12 (Exhibits attached) 12 Q. Okay. And along those same lines I just ask that we
13 13 don't interrupt each other. The court reporter
14 14 wants to have a clean record of everything that
18 15 we say. Understand?
16 16 A. Yes.
"7 17 Q. Okay. In addition, any question that I ask you, if
18 18 you give an answer, I'm going to assume that you
19 19 understand, okay?
20 20 A. Okay.
at 21 Q.  Soif you would like clarification, please just ask
22 22 me and I'll do my best, all right?
23 23 A. Okay.
24 24 Q. Allright. And if you want to take a break at
25 25 anytime, that's fine, please just let us know. But

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Albert Thrower

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l I just ask that if there is a pending question, you I to testify today?

2 answer that and then we can take a break, ail right? 2 A. No.

3 A. Okay. 3 Q. Nothing that impacts your memory?

4 Q. Okay. I just want to get a little bit of background 4 A. No.

5 information. 5 Q. Okay. Can you give a brief history of your

6 A. This is a sewer guy. 6 employment?

7 MS. SELINA: Okay, we can go off the 7 A. Yeah, I work for the St. Anthony Monastery.

8 record. 8 Basically self-employed. As a manager of properties

9 (Proceedings interrupted) 9 and also self-employed.

10 BY MS. SELINA: 10 Q. Is that how you presently earn a living?

11 Q. Okay, could you state your date of birth, please? 11 A. Yes.

12 A. 4-15-57. 12 Q. Okay. And how long have you been doing that?

13. Q. Okay, and what is your marital status? 13 A. Atleast ten years.

14 A. Divorced. 14 Q. Okay. Can you describe what real property you own

15 QQ. Okay. Do you have any children? IS in the city of Warren?

16 A. No. 16 A. Now I don't own any property.

17 Q. Where do you live presently? 17. Q. You own no property in the city of Warren presently?

18 A. Cleveland, Ohio. 18 A. Right.

19 Q. Okay, are you from Ohio? 19 Q. Okay. What other properties do you own?

20 A. Yes. 20 A. Town a couple of properties in Ohio.

21 Q. Okay. In the past year have you lived anywhere 21 Q. Allright. You mentioned St. Anthony of the Great

22 else? 22 Orthodox Monastery. Is that what you were

23 A. Not in the past year. 23 referencing earlier?

24 Q. Okay. Any other notable places that you've lived in |24 A. Exactly.

25 say the past ten years? 25 Q. What is that?
Page 7 Page _9

1 A. No. 1 A. Yeah, that's an Ohio corporation registered to do

2 Q. Okay. Have you ever been involved in a lawsuit as a 2 business in Michigan that -- for the purpose of

3 defendant? 3 owning and managing real estate, which they don't do

4 A. Asa defendant? 4 anymore.

5 Q. Yes. 5 Q. How many members of that corporation?

6 A. Yes. 6 A. Under Ohio law they don't have to disclose the

7 Q. Okay, can you briefly describe those cases? 7 shareholders, so I don't know exactly who the

8 A. The one that comes to my mind is a car insurance 8 shareholders are in all.

9 case, but it was settled out -- 9 Q. But you're the manager?

10 Q. Okay. 10 A. Exactly.

11 A. --acouple of months ago. So I was covered with 11 Q. Are you the sole member of the corporation?

12 the insurance and they hadn't settled. So the 12 A. No, there's other members.

13 insurance company sued and then they settled it out,; 13. Q. Do you know who they are?

14 the other insurance company. 14 A. No,I don't. Through like selling -- owning --

15 Q. Allright. Can you describe your educational 15 owning stock.

16 background? 16 Q. Okay. And you earned income from rental properties,

17 A. I got an MBA in finance. 17 correct?

18 Q. From where? 18 A. Exactly.

19 A. Cleveland State University. 19 Q. Is that how you got involved with the 7568 Hudson

20 Q. Okay, anything else? 20 property in Warren?

21 A. [passed two parts of the CPA exam. 21 A. Yes.

22 Q. Did you attend an undergraduate university? 22 Q. Can refer to it as the Hudson property; you'll

23. A. University of Akron. 23 understand what I'm referencing?

24 Q. Allright. Do you have any medical conditions or 24 A. Yes.

25 taking any medication that would impact your ability 25 Q. Okay. So you presently do not own that property?

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Albert Thrower

07/24/2023

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Exactly.

Who does own it, do you know?

Right now I'm not -- I'm not sure who owns it. It
was sold and that's that.

When was it sold?

It closed like January of last year.

2022?

Exactly.

Do you recall who it was sold to?

No.

That's right. How long did -- so that property was
owned by St. Anthony the Great Orthodox Monastery?

Exactly.

How long was it owned by that entity?

Since 2012.

Did you have any licenses to rent the property out?

No.

Did you rent the property out?

Did I rent the property out? Right, I rented the
property out.

Okay. Who was it rented to?

I mean over the years?

Sure.

For ten years or what?

How many tenants, if you had to estimate, lived in

1 A.

=Seoverrrarana wn

Pages 10..13
Page 12

I mean when -- when I came up here, my understanding
there was a -- I became aware of a certification
process, and so the packet -- the package when it
was purchased, there were other properties involved.
And so those were sold off. Like at that point I
had this lawyer, this Michael Garzoni, which I might
have listed as a witness. And he -- every month I
would go down with probably $3,000, and that would
make the City happy.

And then this guy in the City told me,
you know, why do you give us this money? Nobody
else pays us this money. Because at that time it
was a civil deal, that's the way it was explained.
So...

Why were you paying the City that money?

In fines and trying to keep up with the
certification process on these various properties.

The certification, do you mean to have renters in
the property?

Exactly, exactly.

All right. Would you say that you took good care of
the Hudson property while you owned it?

Yeah, I mowed the grass and basically did the
upkeep. I mean when it was sold it was sold for
substantially more than it was purchased for. So

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Page 11
the property over the years?

Probably ten, ten tenants.

Okay, I won't make you recall all of them. That's
fine. Were you responsible for the upkeep of the
property?

Yes.

Okay, in your role through St. Anthony?

Yes.

Who was living in the property in 2020?

Let's see. Kim and Cheryl Branson, they were on the
second floor, and this -- there was a unit in the
back, and I'm trying to think of the guy's name. I
can't remember his name off the top of my head. And
then there was another fellow that lived in the
front downstairs.

Are there three units in the Hudson property?

Well, I call it -- I call it basically four units.

Okay, so three of them were occupied?

Exactly.

Was the property posted vacant in 2020?

Posted vacant, what, by the city or what?

Yes, by the city.

I mean, to my knowledge it most likely was, right,
it was.

Do you know why?

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Ww bo

NN NN YN = = = =| = =
aWN — SoU SEI AA KH AR

Page 13
the assumption is it was in good shape for it to

have a market value.

It was sold ten years later after you purchased it,
correct?

Exactly.

Okay. How often -- you lived in Cleveland at the
time in 2020?

Exactly.

How often would you come up to Warren to look at the
Hudson property?

Yeah, I would come up quite a bit to mow the grass,
that kind of thing.

Every week, once a month?

Sometimes once a month. Sometimes I would live in
the Hudson property.

In the vacant unit?

In the va -- my lease allowed me to live in any
vacant unit that was available. So they would --
this one might become vacant, then this one come
vacant.

So you leased from the --

Exactly.

-- Monastery. I see.

Yes, it was basically a perk of the management deal.

I see. So you don't know the names of anyone else

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Albert Thrower

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Page 14 Page 16
1! who's involved with the Monastery? 1 So he's not privy to who the title is or whatever.
2 A. No. 2 The cars are there, the cars are gone, so he gives
3 Q. Okay. But there are other people? 3 mea call.
4 A. Right, shareholders. 4 Q. What's your friend's name?
5 Q. _ see. Did you ever receive any tickets or blight 5 A. Yeah, his name is Michael Bischoff.
6 notices related to the Hudson property? 6 Q. He lives in the city, [ assume?
7 A. Yes. 7 A. Exactly, north of the city.
8 Q. How did you receive those? 8 Q. Soeverything you testify about what happened on
9 A. Imean they would most likely be posted on the door. | 9 May Ist is based on what your friend told you?
10 Q. Okay. And so since you came frequently you would 10 A. Exactly.
11 see them? 11 Q. Okay. Can you describe, I guess, your version of
12 A. Right. 12 what happened on that day?
13 Q. Okay. Did you ever receive a notice about blight 13. A. On what day?
14 before the cars were towed from the property? 14 Q. May I, 2020. I'm sorry.
15 A. I mean to me the blight -- the blight is -- to my 15 A. Imean, I was a -- I mean the COVID was jumping off,
16 knowledge I can't say, oh, I received a blight, you 16 so -- and I was in Cleveland getting treated for
17 know. It's like blight. You know, what's blight? 17 prostate cancer five days a week. So obviously,
18 I mean, to my knowledge it was basically just that 18 this call coming in was inconvenient. At that time
19 the properties needed to be certified, certified. 19 the COVID was really jumping off up in the Michigan
20 Q. You understand, though, that you have an obligation 20 area, Detroit area. But I had to look into it.
21 to keep up a property though, correct? 21 So I got ahold of Elizabeth Nelson and we
22 A. Exactly. 22 came up to Warren to see what was up. And then I
23 Q. Okay. Did you ever attend any hearings when you 23 called the police department to report them stolen
24 would receive notice from the City of Warren? 24 and they're like, hey, wait a minute, blah blah
25 A. Right. Over the years like I would attend multiple | 25 blah, you know, what address, blah blah blah, and
Page 15 Page 17.
1 hearings, a lot by myself and a lot with the lawyer, 1 then they informed me it was -- they were towed.
2 Garzoni. 2 I think I might have got into town on
3 Q. Okay, is Mr. Garzoni an attorney in Michigan, I 3 Saturday because the prostate cancer treatment
4 assume? 4 radiation was five days a week. So that left me the
5 A. Exactly. 5 weekends to handle this.
6 Q. Okay. I want to shift gears to, you know, the facts 6 Q. Okay. Before the cars were towed from the Hudson
7 underlying this lawsuit. They arise from 7 property, when was the last time you had been there?
8 May I, 2020 in part; is that correct? 8 A. Probably I would say around February.
9 A. Exactly.
10 Q. So were you present to witness what happened?
11 A. No.
12 Q. Okay, how do you know what happened?
13. A. Well, I was down -- I was down in Ohio and then a
14 friend of mine he called and said, hey, you know,
15 oh, you moved your car. So like, he was kind of
16 surprised because the COVID was jumping off, and all
17 he was aware of that there were some cars on the
18 property. And so I told him, you know, I didn't
19 move them. Like I thought they were stolen,
20 somebody had stolen them during the COVID.
21 Q. Why did he describe them as your cars?
22 A. I mean, because he doesn't -- you know, all he knows
23 is he drives by the property and the cars are gone.
24 So he doesn't know whose car they are, whatever,
25 just that there's cars there and then they're gone.

ee Olh Badd Lee Lo

[| COURT REPORTERS & ViDEo

oO

Q. Okay. And you stated that you did not receive

10 notice that there were any violations current on the
1] property before May |, 2020, correct?

12 A. Correct.

13 (Elizabeth Nelson joints the meeting)

14 MS. SELINA: Can we go off the record for
15 a moment?

16 (Deposition Exhibit Number |

17 was marked for identification)

18 BY MS. SELINA:
19 Q. Okay, so I'm going to hand you what is marked as

20 Defendant's Deposition Exhibit 1. This is a default
21 decision and order from the Administrative Hearings
22 Bureau. So under the section that says it is held

23 that, number 3 says, I, Frank Badalamente, provided
24 respondent notice of this violation by posting a

25 copy of the ticket in a prominent place at the

hansonreporting.com
313.567.8100

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Albert Thrower

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Page 1
address where the violation occurred or sent a copy

of the ticket by First-Class mail to respondent's
last known address or personally served respondent
with a copy of the ticket.

This paragraph is made on my personal
knowledge. If sworn as a witness I can testify
competently to the facts in this paragraph. Is that
what it says?

Yes.

Okay, and you are the respondent here, correct?

Yes.

Okay. And it has the 7568 Hudson property listed,
correct?

Exactly.

Okay. So you're claiming that you did not receive
notice of this default order?

Where's the ticket that goes with this? This is --

I'm just asking whether you received notice?

Okay. First of all, March 4th, the mayor, the
governor and World Health Organization at the end of
February, they already declared COVID a pandemic,
okay. Right around -- in February she was up in
Michigan, and I sent her down with cash to handle
this.

You're pointing at Ms. Nelson?
Page 19

Oo OI Nn PP WN =

—_
-_— ©

Q.

Q.
A.

Q.
A

Pages 18..
Page

21
20
Some courts were held remotely?
Oh, this was held remotely, is that what you're
telling me?
I just asked whether if you knew that some things
were held remotely?
Oh, you're telling me this was held remotely.
I'm just asking if you know?
It was not held remotely, it was not.
Okay. Do you have any evidence of that?
Do you have any evidence that it was held remotely?
Because I know for a fact it was not.
Okay.
You expect me to come out of Ohio when the COVID is
jumping off to come up here? I never got a ticket
for this.
Okay.
I never got a ticket. This is when people are
dying, when they're starting to die.
Okay.
Nobody knows what the COVID is going to do. It
could have killed the whole population on the face
of the earth.
All right.
In 1920 the great flu vaccine or sickness, it killed

40 million people, more than both world wars. This
Page 21

Okay, Ms. Nelson.

THE WITNESS: And didn't you tell me --

MS. SELINA: She's not testifying right
now.

THE WITNESS: Okay. Well, I'm asking a
question. She said the place was locked up, City
Hall was locked up, it was like a ghost town.
Didn't you say that to me?

MS. NELSON: Yes, correct.

THE WITNESS: And you could not pay --

BY MS. SELINA:

Q.

Q.

Okay. I don’t mean to interrupt. I'm just letting
you know. Ms. Nelson -- we have her deposition too,
so she'll be able to testify and everything.

All right.

But I just want to know whether you knew about this
hearing?

This hearing, you're holding hearings when there's a
worldwide pandemic going on and I'm in Ohio getting
treated for prostate cancer? Okay. I mean, Is this
guy a doctor? I know this guy, Frank, he's not a
doctor, okay. Are there doctors down at City Hall?
Do they know what COVID is at this time?

Did you know that some court --

Yeah, some courts were.

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was equivalent to this.

Okay.

You're expecting me to come up to some hearing |
never got a notice of in the middle of -- when the
pandemic's going on, talk to some quack?

Okay. So did you -- it also says at the bottom,
respondent may file a motion to set aside this
default judgement --

Hey, she went down there with the money and the

place was like -- there was nobody there. City Hall

was locked, City Hall was locked. Was it locked --
it was like a ghost town.

If you want what you're saying to be on the record,
you just have to not interrupt, okay?

Okay.

All right.

Plus his law was declared unconstitutional, it was
sued by that firm out of Troy, Michigan, so to me it
was a class action lawsuit. Like I got document
that the code was declared illegal. So they never
told me, well, we're going to revamp the code.

Who declared the code illegal?

Yeah, the federal judge, the federal judge. It was
in a consent decree. They paid 375,000 in law fees.

So was it a settlement or was it a ruling by the

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I court? 1 years.

2 A. It was asettlement. NILI versus the City of Warren | 2 Q. _ It doesn't necessarily mean that.

3 because there was no appeal process. Things were 3 A. Okay, soa thousand years. They weren't parked

4 arbitrary and they never notified me like we 4 there a thousand years.

5 revamped this code. So we need you to come out in 5 Q. Say for longer than a month?

6 the middle of COVID to appear at this hearing for 6 A. Longer than a month? When the COVID is jumping off,
7 some revamped code that was declared 7 we're supposed move cars? Or the City is supposed

8 unconstitutional. And the City agreed that it was 8 to come and tow cars during the middle of the COVID?
9 unconstitutional. I used that case in my brief. 9 Q. Okay, I want to move on to the conspiracy that you

10 NILI versus the CITY of Warren. 10 allege is happening in the city.

11 Q. Okay, I'll have to reference that then. So the cars 11 A. Allright, go ahead.

12 on the Hudson property, those belong to Ms. Nelson, 12 Q. So you stated that there's a conspiracy between the

13 correct? 13 City of Warren and various towing companies to steal

14 A. Exactly. 14 people's cars during COVID. Do you have any

15 Q. So did she have permission to store the cars on the 15 evidence of that?

16 property? 16 A. No. I mean you got my under oath deal, right?

17 A. First of all, she was a renter there, and second of 17 Q. Sure, but I'm just asking the factual basis.

18 all part of renting gave her access to both lots. 18 A. No,I don't have any evidence of that.

19 They're side by side lots. 19 Q.  Soit's just your opinion?
20 Q. So you had mentioned though that the tenants were 20 A. That's my opinion.
21 two men and then two women, but Ms. Nelson was also | 21 Q. Okay. And is it a hypothesis based on any evidence?
22 a tenant? 22 A. Wellona conspiracy you need one overt act. So the
23 A. Exactly. Actually -- actually at that time there 23 cars were towed, okay, that's the overt act and I --
24 was only one other guy, one other guy. Because the | 24 I know it's fairly easy to get titles for the cars
25 other guy was gone. 25 to auction them off. So --

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1 Q. Okay. So was Ms. Nelson living at the property? 1 Q. Did your car --

2 A. Exactly. 2 A. Inmy mind --

3 Q.  Atthe time the cars were towed? 3 Q. I'msorry.

4 A. Exactly. 4 A. -- there's like an implicit agreement that we're

5 Q. Do you know whether she was there when they were 5 going to tow cars and we're going to auction them

6 towed? 6 off. Okay, I don't know how the tow company got the
7 A. No, told you she was down in Cleveland. She was 7 contract for Warren, okay, it might be pay to play

8 living in the basement unit. 8 or whatever. But it's -- those were tens of

9 Q.  Atone of your properties? 9 thousands of dollars of cars. Okay, the COVID is

10 A. Atthe Hudson property. 10 jumping off, so it looks like a conspiracy to me.

11 Q. That's in -- the Hudson property is in Warren 11 Q. Okay, and you in your complaint said that

12 though? 12 Robert Scott was prowling the city for cars to tow;

13 A. Exactly. 13 do you have any evidence of that?

14 Q. Okay. Well, you just said she was living in 14 A. Well, somebody must have drove around and saw the
15 Cleveland. 15 cars. So that's my definition of prowling, that he

16 A. No. I said she went down to Cleveland and then the | 16 was driving around looking for cars to tow.
17 COVID started jumping off. So her doctor told her 17 Q. Okay. So you're just assuming that's how it
18 to stay down there. 18 happened?

19 Q. Okay. Do you know whether you need permission from | 19 A. Exactly.
20 the City to have cars parked indefinitely on your 20 Q. Okay. Do you know whether anyone made any
21 property? 21 complaints about the property being blighted and
22 A. Indefinitely? What's indefinitely, forever? 22 that's how it was brought to the City's attention?
23 Q. For an extended period of time. 23 A. No.
24 A. Soextended, what's extended period of time, 24 Q. Allright. Do you know whether the police ever come
25 indefinitely? Indefinitely is forever, a thousand 25 by the property because it's -- or whether the

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l police drive by the property and may notice blight 1 be there on the ist, you know, on this May Ist
2 on a property? 2 towing. And I talked to Elizabeth Branson, and she
3 A. I mean that's a police job now driving around 3 said, hey, the City was there, the cops were there,
4 looking for blight. Is that in their definition of 4 they were all over the place. Okay, it was like a
§ keeping Warren safe? 5 party there, okay. Multiple people. And so to me
6 Q. I'm just asking whether you know if that happens or 6 Robert Scott was there. If you're saying he wasn't
7 not? 7 there, that's a lie. I don't have any proof that he
8 A. Welll don't think that would be in the police 8 was there, but in my opinion he was there.
9 function to do -- to drive around looking for 9 Q. Okay, along those same lines why did you name
10 blight. I mean if you're saying that's happening, 10 Mayor Fouts in the lawsuit?
11 then they're part of a conspiracy too. 11 A. Because to me he went on his Facebook and his news
12 Q. Okay. Do you know of anyone else who had their cars | 12 release saying, oh, we got -- on a later incident,
13 towed during COVID? 13 we got bad landlord, blah blah blah, and so my
14 A. No,! don't. 14 opinion this is like an ongoing thing. He's taking
15 Q. Allright. So it's just Ms. Nelson's cars then? 15 a personal interest. So out of state landlords,
16 A. Exactly. 16 blah blah blah.
17 Q. Allright. You were able to get the cars back 17 Q. Did that arrest that you're referencing happen after
18 though, correct? 18 the cars were towed the first time?
19 A. Correct. 19 A. No. It happened after. Exactly.
20 Q. Okay So the City didn't really have the chance to 20 Q. And did it happen -- that arrest happened after the
21 get title or make any money off of this, correct? 21 cars were towed the second time?
22 A. Right. 22 A. After, after.
23 Q. Do you have any idea why these specific cars in the 23 Q. The arrest was after?
24 entire city of Warren would have been targeted? 24 A. Right.
25 A. No,I don't. 25 Q. Okay.
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1 Q. Okay. How is Robert Scott, a person you named in 1 A. Well, he was trying to arrest me when he was towing
2 this lawsuit, involved in this conspiracy you 2 the cars. I was in the Hudson building.
3 alleged? 3 Q. Was that arrest that you're referencing, is that
4 A. Well, my understanding he was in the property before | 4 related factually to this lawsuit?
5 and had got into the property using the tenants on 5 A. Actually, no.
6 the second story to allow him in, to a living area. 6 Q. Okay. And then Commissioner Dwyer, he’s the police
7 Okay. Second of all about a year later he assaulted 7 commissioner; is that correct?
8 me, which I filed a police report. So to me I don't 8 A. Exactly.
9 know what this guy's issue is, but I mean, I looked 9 Q. And why did you name Commissioner Dwyer in this
10 over your discovery and you say he wasn't there. 10 action?
11 And if you say he wasn't there, that's a lie because 11 A. Well, the tenant Branson said the cops were on the
12 that guy was there May Ist. 12 property, okay. I mean, to me in your discovery you
13. Q. How do you know that? 13 have not admitted that any cops were on the
14 A. Okay. Because the dude's a psycho, okay, and 14 property, but she told me the cops were on the
15 they're not going to come out there and tow cars 15 property. They were on the property May Ist, and
16 without him being there. Okay, earlier he had broke | 16 they were on the property when I was on the property
17 into her apartment, okay, and so then he testified 17 on the second towing which was July 5th, about a
18 under oath that this Kim Branson, one of the tenants 18 year later.
19 that he made them into informants, okay. And then 19 So it's hard for me to fathom that their
20 there was another incident a year later where he 20 -- while I see them with my own eyes a year later,
21 towed cars and he was there on that incident. So 21 okay. And Kim Branson, the tenant, said the cops
22 based on the facts, in my opinion he broke into the 22 were there. But in your discovery you're claiming
23 house, he assaulted me up the tow yard. 23 that the cops weren't there.
24 He was there at the second towing. So 24 Q. What discovery are you referencing?
25 it's to me, it's beyond credibility that he want to 25 A. When you responded to my discovery. I haven't seen

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1 any evidence that you admitted that any cops were 1 Ms. Mead may.
2 there. 2 THE WITNESS: Okay.
3 Q. You haven't sent us any discovery request, so I'm 3 CROSS-EXAMINATION
4 not sure what you're referencing? 4 BY MS. MEAD:
5 A. Well, you know, my understanding that is -- I'll 5 Q. Good morning, Mr. Thrower, I'm Jennifer Mead and |
6 have to check that. I thought I did send discovery 6 am here representing the towers and the individuals
7 requests. 7 related to the towers. The -- and just the same
8 Q. Okay. If you have them, you know, feel free to send 8 instructions or same comments that were made earlier
9 them to us, but I don't know what you're 9 that if I ask a question and you don't understand,
10 referencing. 10 just please let me know if I've fumbled the question
11 A. Okay. 11 and you need some clarification.
12 Q. And you mentioned the July 2021 towing. You said 12 A. Okay.
13 you were present for that? 13 Q. If you answer it I'll understand -- I'l! assume that
14 A. July Sth. 14 you understood my question.
15 Q. Of 2021? 15 So what is your relationship to
16 A. Exactly. 16 Elizabeth Nelson?
17 Q. Okay, what happened that day? 17 A. Yeah, she's a tenant and she's a friend.
18 A. Yeah, I come in from out of town to mow the lawn, | 18 Q. Okay.
19 and I didn't know it at the time, but the tenant had 19 A. Imean she was a tenant at the time of this action.
20 basically become an informant because she was being | 20 Q. Okay.
21 evicted and it was like quid pro quo. 21 A. She's not a tenant now.
22 Q.  Isthat Ms. Branson you're talking about? 22 Q. And are the two of you in any dating relationship?
23 A. Right. 23 A. Yeah, I would object to that, you know, the
24 Q. Elizabeth Branson? 24 relevance.
25 A. Exactly. And so she basically notified the city 25 Q. Okay. It's noted.
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1 that I was in town. Like Icamein there and thena| ft A. Allright.
2 7:30, 8 in the morning, it was like swat hit the 2 Q. But you can answer the question. Is there any type
3 property, like the police, all these -- this 3 of dating relationship?
4 Robert Scott. 4 A. Yeah, I don't think -- I don't think it's relevant,
5 Q. Okay. And so the cars that were towed in July of 5 so I'm not going to answer it. You need to get a
6 2021, were they the same cars that were towed in 6 judge to order it.
7 May 2020? 7 MS. NELSON: Besides, if you knew my
8 A. No, they were different cars. 8 parents they would roll over in the grave if I ever
9 Q. Okay. Each time the cars were towed were you able | 9 really dated him.
10 to retrieve them? 10 MS. MEAD: Ms. Nelson, you're not
11 A. Yes. 11 testifying at this time.
12 Q. And Ms. Nelson didn't lose title to the vehicles or 12 MS. NELSON: It's morning, ma'am. I love
13 anything like that? 13 you to death, but I'm going to go have a cigarette
14 A. Correct. 14 until you finish. I do not get up in the morning.
15 Q. Were the cars damaged in any way? 15 MS. MEAD: Okay.
16 A. No. 16 MS. NELSON: Excuse me. I'm sorry, we
17 Q. Allright. And you said that were you exposed to 17 all have our times and morning isn't mine. So I'll
18 COVID on those trips. Did you contract COVID on | 18 let you finish with him. I'm honest.
19 those trips? 19 THE WITNESS: Which one of the Hertz
20 A. No. 20 brothers family is deceased?
21 MS. SELINA: All right, | think maybe if 21 BY MS. MEAD:
22 we take a quick break and I'll talk with my client. 22 Q. That is Edward Hertz.
23 (A brief recess was taken) 23 A. Okay.
24 MS. SELINA: All right, Mr. Thrower, I 24 Q. You're aware that he is currently deceased?
25 don't have any additional questions for you, but 25 A. I think you brought it to my awareness.

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During the pretrial?
Well, during -- exactly.
Okay.
During the course of stuff.
Okay. Let me see. When did you start living -- did

you ever actually live at 7568 Hudson?

Yes.

Okay, when did you start living there?

Yeah, I was -- I was -- first of all I maintain a
residence there and -- in -- I maintain a residence
there, okay. As my capacity, like when I come up,
okay, and I got to take care of stuff, over the

years there were multiple properties. And so I
would be up there months at a time. So off and on.

When did you start maintaining that residence?

2012.

Okay. And now do you pay anything for that
residence?

I think on a lease it's like $100 just say that --
but it's basically as a capacity as the manager, but
that is just -- make the contract validate is $100,
$100 a month.

Okay, but you --

Consideration.

-- you don't actually pay the $100?

A.
Q.
A.
Q

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four vehicles from Service Towing?

Yes.

Okay, you actually paid it?

Yes.

Okay. And did you go inside of Service Towing to

retrieve --

Yes.
If you could wait --
Okay, that's fine, right.

-- until I finish just to make sure that we get a
clear record.

Exactly.

Did you actually go inside of Service Towing to
retrieve each of the four vehicles?

Yes.

Okay. Did you go by yourself?

Yes. Ms. Nelson, she was outside in the car and the
COVID was jumping off. So I wanted to minimize
exposure.

Okay, thank you.

(Deposition Exhibit Number 2
was marked for identification)

MS. MEAD:

Q.

I'm going to hand you a rental agreement. Do you

recognize this rental agreement?
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Yeah, I pay a 100.

Oh, you do pay the $100?

Right.

Okay. Now -- but you sold it, so you obviously
don't -- I shouldn't say obviously. Do you continue
to have a residence there now that the property is
sold?

No, no, it's sold.

Okay. And did you cease maintaining a residence
there at the time of the sale?

Exactly.
Okay.
MS. MEAD: And | hate to say this, |
didn't bring any exhibit stickers.
MS. SELINA: Oh, there's stickers down
here. Do you want me to make a copy?
MS MEAD: That would be great.
MS. SELINA: Okay.
(A brief recess was taken)

BY MS. MEAD:

Mr. Thrower, did you ever get COVID --
No.
-- after May Ist? Have you ever had COVID?

No.
Okay. Let me see. Now, did you pay to retrieve the

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Yes.

Okay. You've been talking about the lease agreement
allowing you to stay on the property and where
you're managing. Is this the actual -- is this the
lease agreement that you've been talking about?

Yes.

Okay. And at the bottom it is -- at the bottom
there is a signature in the lower left-hand corner
-- I'm sorry, in the lower right-hand corner. Is

that your signature before tenant?

Yes.

Okay. Now in the lower left-hand corner there's
some writing. Do you recognize the writing?

Yes.

Okay. And the writing that I'm talking about is
where it says owner/agent?

Exactly.

What does that say there?

St Anthony the Great Monastery.

Okay. Who wrote that?

Actually, I wrote it.

Okay. So you signed as the owner/agent and as the
tenant?

Exactly.

Okay. And then did you fill in the rental agreement

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] yourself; did you fill that in? 1 vehicles being be towed by Able Towing?
2 A. Yeah, after conferring with the other shareholders | 2 A. No.
3 based on a meeting of the minds, right. 3. Q. Okay.
4 QQ. Okay. 4 A. Imean, you say Able Towing. I thought it was
5 A. [I filled it in. 5 Service Towing now.
6 Q. Okay. What other shareholders did you talk to? 6 Q. There's Service Towing and then there's Able Towing
7 A. At this time I can't recollect. That was years ago | 7 as well.
8 and I can't recollect. 8 A. Okay, so they're both in existence?
9 Q. Okay, okay. On May 1, 2020 who owned each of the | 9 Q. Well, I'm just talking back then.
10 four vehicles that were towed? 10 A. Okay.
11 A. Elizabeth Nelson. 11 Q. Okay. Now as far as damages, are you seeking
12 Q. Okay. Now once you received -- let me see. Earlier | 12 damages for -- there's a bag of cans of -- pop cans,
13 -- did you receive the notice of abandoned vehicle? 13 returnables, are you seeking damages for that?
14 A. Did I receive it? 14. A. Well, not from your clients.
1S Q. Did you ever receive it? 15 Q. No?
16 A. I mean, it was never addressed to me, okay. My |16 A. Not from the towing company.
17 understanding it came to the property. 17 Q. Okay.
18 Q. Okay. 18 A. And what my understanding is that -- yeah, I'm not
19 A. From the Secretary of State. So at some point I 19 seeking damages for those from your clients.
20 think it was addressed to Elizabeth Nelson as the 20 Q. Okay. What about are you seeking damages for a
21 owner. 21 bumper wrap?
22 Q. Okay. Did you ever file a petition to contest 22 A. Right, from the City, from the City, not from the
23 whether it was proper for the vehicles being removed | 23 Service Towing people. You know, I never alleged
24 and deemed abandoned by the Warren Police 24 that they took any personal property. The towing
25 Department? 25 people did not take that.
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1 A. I mean, no, I never did that. They were towed on 1 Q. Okay. So in your complaint there's mention of a --
2 the Ist, and I think they were all retrieved by 2 of two bags of salt, a dog house, a Weber grill,
3 the 3rd. 3 some wood and aluminum gutters. Are you seeking
4 Q. Okay. 4 damages for them?
5 A. Which would have been a Sunday. So I had to get 5 A. Right, but not from your clients.
6 back to -- continue the prostate radiation five days 6 Q. Okay.
7 a week. So it was -- everything was done on the 7 A. Not from the towing people.
8 Saturday and Sunday. 8 Q. And now you list the towing companies of
9 Q. Okay. Once you received the notice of abandoned 9 Service Towing and Able Company, but then you also
10 vehicle, did you ever file a petition to contest the 10 list Edward Hertz, Bruce Hertz, Dennis Hertz and
11 propriety of the vehicles being towed by 11 Randy Sullivan. Oh, and also Sandra Hertz. Are you
12 Service Towing? 12 seeking damages from any of those individuals, any
13 A. I mean first of all, they were already retrieved and 13 of the Hertzes or Randy Sullivan for any of the
14 the COVID was jumping off. So it wasn't -- and that | 14 personal property that we just went through?
15 was not the foremost in my mind. Like I went right 15 A. Not the personal property, just for the towing fees
16 back to Ohio to keep getting treated for prostate 16 and basically the conspiracy of coming on to the
17 cancer. And those letters didn't probably come 17 private property and being called by state
18 until like a -- by at least a month later. 18 officials. The conspiracy to violate my
19 Q. Okay. 19 constitutional rights. And then using the falsified
20 A. And to my knowledge I didn't even see them until 20 address too, where the cars were towed from. So
21 maybe a couple months after that because the COVID | 21 that's the damages I'm alleging.
22 was jumping off. And so I was staying in Ohio. 22 Q. Okay. So how much in the towing fees for each of
23 Q. Okay, I've got the same questions far as when you 23 the vehicles are you seeking?
24 received the notice of abandoned vehicle, did you 24 A. Well, there were four vehicles. I think it was like
25 ever file a petition to contest the propriety of the 25 around 330 a vehicle, so around $1400.

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1 Q. And what other actual cost are you personally 1 A. Right, I don't have any, no.

2 seeking damages for from the towers or from any of 2 Q. Okay. Now Edward Hertz, what evidence -- what facts

3 the Hertzes or Brian Sullivan? 3 do you have that Edward Hertz entered into a

4 A. Just what I said as far as they acting in the 4 conspiracy with the City of Warren?

5 conspiracy with the City -- with the City actors and 5 A. I thought you said he was deceased.

6 violating my constitutional rights by coming on to 6 Q. He was alive at the time that this occurred, but

7 the property to tow the vehicles and then exposing 7 then he died subsequent to this?

8 me to COVID, having to come up and retrieve -- help | 8 A. Okay. I mean, I don't have -- just the capacity

9 retrieve these vehicles during the COVID crisis. 9 that the Hertz tow company came out and towed the

10 Q. What cost did you incur from those -- from what 10 cars. So to me there's -- as I allege, there's a

11 you're claiming? It conspiracy going on. They're violating the fourth
12 A. Yeah, the cost of coming up to retrieve the vehicles | 12 amendment of the constitution and they're coming on
13 and the one Hertz brother, he told me if you take 13 private property. The COVID's jumping off. So I

14 these vehicles back, this Robert Scott is just going 14 mean, I don't know what their capacity is to say,

15 to tow us again. So then [ had to get the cars away 15 well, I'm not going to tow a car when - I think the

16 from there, which would have meant -- like get them | 16 one Hertz brother told me that, hey, if they call us

17 back -- get them to Ohio. 17 to tow a car, we're going to tow the car.

18 Q. Which brother? 18 So they're not going to sit there and

19 A. Yeah, I don't know which one it was. I don't know. | 19 say, well, are we legally allowed to tow this car or
20 I don't know which one's which. 20 -- so that's the damages with Edward Hertz. I
21 Q. Now what facts do you have that show that 21 remember he's a -- I remember now, since you're
22 Sandra Hertz entered into a conspiracy with the City 22 saying he's deceased, he's the older, short fellow.
23 of Warren defendants? 23 And I mean I don't know who owns the company or who
24 A. Imean to me, for conspiracy, you need an overt act. | 24 runs the company, but all I know is that the cars
25 And so to come out towing the cars, that was the 25 were towed.

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1 overt act, okay. My position is that it was illegal 1 Q. Okay. Do you know if he was there when the cars

2 to come out and tow the cars. So, she's listed as 2 were towed?

3 the resident agent. And so I don't know if she's an 3 A. Ido not know if he was there when the cars were
4 owner or just her capacity as a resident agent, she 4 towed.

5 would have to take service of the lawsuit. And I 5 Q. Okay. Do you have any documents in your possession
6 don't know the ownership structure, so that's why 6 that show that he entered into the conspiracy,

7 she's listed. 7 entered into a conspiracy with the City of Warren

8 Q. So was she there that day? 8 defendants?

9 A. I don't even know who she is, okay. Sol don'tknow ; 9 A. No.

10 if she works in the office. I don't know who's who 10 Q. Do you have any evidence of any conversations that
11 over there at Service Towing. 11 Edward Hertz had with any of the City of Warren

12 Q. So you don't have any personal knowledge that she 12 defendants regarding the towing of the vehicles?

13 was there on the property? 13 A. No.

14 A. No. 14 Q. What about Bruce Hertz, do you have any -- scratch
15 Q. You don't have any personal knowledge that she drove | 15 that. What facts do you have that Bruce Hertz

16 the tow truck? 16 entered into a conspiracy with the City of Warren

17 A. No. 17 defendants?

18 Q. Do you have any personal knowledge that she spoke 18 A. I mean, I don't have any facts other than the fact
19 with any of the City of Warren defendants -- 19 that the cars were towed by the towing company.
20 A. No. 20 Q. Okay. Do you have any documentation that proves
21 Q.  -- regarding this matter? Do you have any documents | 21 that Edward Hertz entered into a conspiracy with the
22 in your possession that show that she acted in 22 City of Warren defendants?

23 concert with the City of Warren defendants? 23 A. No. Except for the fact that for a conspiracy you
24 A. You're talking about Sandra Hertz? 24 need an overt act and do basically something

25 Q. Regarding Sandra Hertz. 25 illegal. And so it's based on those facts that I

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1 have the facts that they entered into a conspiracy t So the evidence is the falsified
2 because their capacity as owner of the tow company, | 2 paperwork from your clients at Service Towing, and
3 they had to come out and tow the car. If they told 3 the family owners, okay, Edward, Dennis, Bruce,
4 somebody to come out and let's kill somebody on this | 4 Sandra, okay, somebody had to write that on there.
5 property and somebody would be dead and then there | 5 And so that's the evidence that I have, okay, and
6 would -- I don't have any facts that do it. 6 they're getting money for it too, way over a
7 But it's the same thing, they come out, 7 thousand dollars in tow fees. And then when the
8 they tow the cars, okay. And it was illegal for 8 COVID's jumping off, I mean, why are they out towing
9 them to tow the cars. So that's the fact I have. 9 cars? You know, the governor has -- if somebody
10 Q. But you don't have any other facts that there was a 10 goes down the street, it was a misdemeanor offense.
1] discussion? 11 But, yeah, we can go out and we can tow cars.
12 A. No. 12 Q._ As far as you're saying that there was a falsified
13. Q. Okay. What about Dennis Hertz? 13 address, what damages did you incur as a result of
14 A. No. 14 the clerical error on the document as far as the
15 Q. Okay. Do you know of any facts that would support 15S address?
16 that Dennis Hertz entered into a conspiracy with the 16 A. Well, the damages are that it was an attempt to
17 City of Warren? 17 conceal the fact of the real address that the cars
18 A. Just the overall facts. To have a conspiracy you 18 were towed from. So my position is that they --
19 have to have an overt act. So they come out, they 19 being a tow company, they know what the abandoned --
20 tow the cars. And number 2 is, somebody has to be 20 Michigan Abandoned Vehicle Statute says and that
21 responsible for that falsified address, using the 21 they knew they were doing something illegal or at
22 falsified address. So you come out -- you come out 22 the least on shaky ground. We're going to come out
23 to this address, but on the receipt and the 23 here and tow these cars off private property. So
24 paperwork we're going to put a different address. 24 what we're going to do is we're going to put a
25 Now to me that's to get around -- to try to get the 25 different address with the COVID going on, it'll
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1 fifth definition of an abandoned vehicle. It's in a 1 mask us to try to fit the statutory definition.
2 meeting of the minds, that we're going to come in 2 If they put this correct address on, then
3 and we're going to falsify the address so it looks 3 they would not be abandoned vehicles under the
4 like there an abandoned vehicle. 4 statute. The only reason that they're allegedly
5 When under the law, under the Michigan 5 abandoned vehicles is because of the falsified
6 law they did not fit the statutory definition of an 6 address.
7 abandoned vehicle. So those are the facts that I 7 Now, maybe it was a mistake or whatever.
8 have. So we're doing illegal things. We're 8 I mean, maybe you can argue that to a jury that, oh,
9 falsifying address. I don't know who falsified the 9 they made a mistake. Okay, but my opinion is that
10 address, but even on the receipts when I picked them | 10 it's not a mistake. That they know what the statute
11 up it has the falsified address, 7528 Hudson Avenue. | 11 says. So what they do is they falsify the address,
12 So somebody at that tow company is writing the 12 okay, your clients, you know, Dennis, Edward, maybe
13 falsified address. I mean, maybe they're so 13 Sandy, okay.
14 lackadaisical they come to one address, tow cars, 14 The ownership structure of the tow
15 and they might do that all the time, put in a 15 company to fit the abandoned vehicle statute to make
16 different address, okay. 16 everything look copasetic.
17 My position is maybe they do; maybe they 17 Q. Were you denied access to the vehicles because of
18 don't. But to me they put -- somebody put the 18 the wrong address?
19 falsified address. [t's not that hard you come out 19 A. No.
20 to one property you look at the house numbers on it | 20 Q. Okay. It didn’t hinder you in obtaining the
21 and it says one address, but we're going to falsify 21 vehicles back, correct?
22 it to another address. Now that's illegal, that's 22 A. Correct.
23 falsification, okay. It caused documents to be 23 Q. Do you know who wrote the address on the form?
24 submitted to the Secretary of State that is 24 A. No.
25 falsified. Q. Do you admit that it could have been a simple error?

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1 A. No, I don't -- I don't admit that because -- I don't 1 CERTIFICATE OF NOTARY PUBLIC - COURT REPORTER
2 want to admit that. 2 I do certify that the attached
3 Q. Was the notice sent to a different address? 3 deposition was taken before me in the above-entitled
4 A. Well, my understanding is once it's turned into the 4 matter; that the witness was first sworn to testify
5 Secretary of State that they doa title search, and 5 the truth; that the testimony contained herein was
6 then they issue the letter to the owner which would § by me reduced to writing in the presence of the
7 have been at the 7568 Hudson address, which is where 7 witness by means of stenography, and afterwards
8 the letter came from -- came to. But that whole 8 transcribed upon a computer. The attached pages are

3 a true and complete transcript of the testimony and
9 process was put into effect by them calling -- at Lo proceedings.
10 this point that these were abandoned vehicles. a 1 do further certify that I am not
11 Q. So you received the letter from the Secretary of 12 connected by blood or marriage with any of the
12 State -- 13 parties, their attorneys or agents, and that I am
13. A. IT mean she received the letter, because a -- but 14 not an employee of either of them, nor interested,
14 that was like months -- months later because they 15 directly or indirectly, in the matter of
15 were going to send it to the owner of record, which 16 controversy.
16 was 7568 Hudson. 17 IN WITNESS WHEREOF, I have hereunto set
17 Q. Okay, so the letter was sent to the correct address 18 my hand and affixed my notarial seal at West
18 any way? 19 Bloomfield, Michigan, County of Oakland, this 2nd
19 A. Exactly, exactly. 20 day of August 2023.
20 Q. Okay, okay. Randy Sullivan was the last individual. 21 Nexto. ede
21 A. Oh, Sullivan, where do you get that name? ,
22 Q. Randy Sullivan is listed as one of the defendants by 22 Theresa L. Roberts, CSR
23 you. 23 Certified Shorthand Reporter - CSR-4870
24 A. I thought Randy Hertz, I thought it was Hertz. I 24 Notary Public - Oakland County, MI
25 mean that's the guy's name, Sullivan? 25 My commission expires 10-4-2027

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1 Q. Randy Hertz, I apologize. What evidence do you have
2 that Randy Hertz entered into a conspiracy with the
3 city of Detroit?
4 A. Just based on the facts that the cars were being
5 towed and that it being an overt act to come on to
6 private property to tow the cars and then using a
7 falsified address. It's based on those facts. I
8 don't have any other -- I can't even go down there
9 and say, oh, this is Randy, this is Dennis. I don't
10 know who's who.
11 Q. Okay.
12 MS. MEAD: | don't have any other
13 questions?
14 MS. SELINA: I don't either.
1S (Deposition concluded about 11:25 a.m.)
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Elizabeth Nelson
07/24/2023

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

ELIZABETH NELSON and
ALBERT THROWER,

Plaintiffs,

~“vVs- Case No. 2:22-cv-10918
Hon. Matthew F. Leitman

SERVICE TOWING INC., ABLE
TOWING LLLC, EDWARD D. HERTZ,
President, DENNIS HERTZ,
Treasurer, BRUCE HERTZ,
Secretary, SANDRA HERTZ,
Resident Agent RANDY (JOHN DOE)
Driver, Truck 210, BRUCE

(JOHN DOE) Driver, Truck 210,
DENNIS {JOHN DOE), Trust 162,
JOHN DOES 1-3, City of Warren
Property and Maintenance Employees,
2 ZONING DEPARTMENT EMPLOYEES,
City of Warren, JOHN DOES 1-3,
JOHN DOES 1-4, Warren Police
Department Policemen, CITY OF
WARREN, JOHN DOE, Warren Chief
of Police, JAMES FOUTS, Mayor,
ROBERT SCOTT, Supervisor:
Property and Maintenance
Division,

Defendants.

The Deposition of ELIZABETH NELSON, taken
before me, Theresa L. Roberts, Certified Shorthand Reporter
(CSR-4870) and Notary Public in and for the County of
Oakland, State of Michigan, at 255 East Brown Street,

Suite 320, Birmingham, Michigan, on Monday, July 24, 2023,

noticed for 11 a.m.

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ase 2:22-cv-10918-MFL-APP ECF No. 82, PagelD.1606 Filed 09/13/23 Page 68 of 95

Elizabeth Nelson

07/2

Page
APPEARANCES :
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In Pro Se:

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For Defendants LAW OFFICE OF JENNIFER E. MEAD
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For Defendants
City of Warren:

Michigan 48080

ALSO PRESENT: Ethan Vinson, Esq. (P26608)

4/2023

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Pages page’?

Birmingham, Michigan
Monday, July 24, 2023
(At about 11:34 a.m.)

ELIZABETH NELSON
after having been first duly sworn to tell the
truth, the whole truth and nothing but the truth,
was examined and testified upon her oath as

follows:
DIRECT EXAMINATION

BY MS. SELINA:

Q.

A.

Could you please state your legal name for the
record?
It's Elizabeth Luise Nelson.

MS. SELINA: Okay, let the record reflect
this is the date and time for the deposition of
Elizabeth Nelson taken pursuant to notice and for
all purposes under the Federal Rules of Civil
Procedure and Federal Rules of Evidence.

BY MS. SELINA:

Q.

I introduced myself earlier, but you weren't here
yet. My name is Rachel Selina. | represent the
City of Warren defendants.

Have you ever had your deposition taken

before?
Page 5

Direct Examination by Ms. Selina
Cross-Examination by Ms. Mead

Redirect Examination by Ms. Selina

E X H I BdITé#S
DESCRIPTION
Deposition Exhibit No. 3 Rental Agreement
Deposition Exhibit No. 4 Certificate of Title
Deposition Exhibit No. 5 Certificate of Title

(Exhibits attached)

[| Court Remorrens @ Vione

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18 | 10
24 11
24 12

A.
Q.

A.
Q.

A.
Q.

A.
Q.

No.

So, I'm going to go over a few ground rules. You
may have seen that play out a little bit. But the
court reporter's taking down everything that we say,
so I'm just going to ask that if you respond kind of
like you're doing right now, to give a verbal
response rather than a head nod, okay?

Okay.

That makes it easy. She can't write down that i

you're nodding your head.

I understand.

All right. And you understand too that even though
a judge is not present, you are still answering
questions under oath, correct?

Yes, ma'am.

Okay. And along those same lines too, I'll let you
finish your answer before I go on to my next
question, And I would just request that even if you
think you know what I'm going to say, let me finish
my question so we aren't interrupting each other.

Okay.

And if you answer a question I'm going to assume
that you understand, all! right?

Right.

All right. And if you need clarification, please

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Elizabeth Nelson

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1 just ask. 1 Q. Okay, what is that?
2 A. Okay. 2 A. Yeah, the cancer has spread to my brain so, yes. My
3 Q. Okay, Ms. Nelson, could you tell me your date of 3 memory gets fuzzy.
4 birth? 4 Q. Okay.
5 A. 12-10-67. 5 A. This, I know though. This stuff, of course.
6 Q. Are you married? 6 Q. Okay.
7 A. No. 7 A. Because it's irritating.
8 Q. Do you have any children? 8 Q. Allright.
9 A. One. 9 A. So it's easy to remember.
10 Q. How old is that child? 10 Q. Allright. Are you currently employed?
11 A. Twenty-four. 11 A. Part-time on the books with St. Anthony Orthodox
12 Q. Okay. Where do you presently live? 12 Monastery as a secretary.
13. A. Warren. 13 Q. Okay. Are there other employees that you work with?
14 Q. What is your address in Warren? 14 A. No.
15 A. No clue. 1S Q. What are your duties with St. Anthony?
16 Q. Can you give cross streets or the region? 16 A. Thelp with the rentals like cleaning out the
17 A. No. 17 apartments or the rooms, stuff like that. Just like
18 Q. Okay. Have you lived in that location for a while? 18 assisting with basic repairs, ideas, kind of
19 A. No. 19 supervision kind of things, reminders, errands, like
20 Q. Where did you live prior to that? 20 running to the bank or stuff like that, supplies,
21 A. Which time, when? You mean now or before or, I | 21 Home Depot, et cetera.
22 mean -- 22 Q. Do you have any clerical work that you do other
23 Q. Where have you lived -- 23 than --
24 A. _ I've lived in Westland, I've lived in Warren, 24 A. Considering the fact that I can barely see the
25 Detroit, like a lot of different -- I mean, right 25 computer, not a whole lot.
Page 7 Page 9
1 now Warren. 1 Q. All right.
2 Q. Okay. Where did you live at the time these cars 2 A. Thave to have it magnified; then you can only see a
3 were towed in May of 2020? 3 portion of it.
4 A. The Hudson place. 4 Q. Okay.
5 Q. Okay. And you lived there full-time? 5 A. Right.
6 A. Right. 6 Q. And so the 7568 Hudson property, you know which
7 Q. Allright. Have you ever been involved in a lawsuit 7 property I'm referring to?
8 before? 8 A. Ofcourse.
9 A. No. 9 Q. Okay. Were you present the day that the vehicles
10 Q. All right. With the exception of this one? 10 were towed May 1, 2020?
11 A. No, just this one. 11 A. No.
12 Q. Allright. Can you describe your educational 12 Q. Okay, how did you learn what happened?
13 background? 13. A. I guess a friend called him, Mr. Thrower.
14 A. Wayne State University for my basic classes,and | 14 Q. Okay.
15 then I went to a small school called Technical 15 A. And he called me and said, hey, this is what's going
16 Career Institute where I completed my medical 16 on.
17 assistant, did that for three and a half years; went | 17 Q. Okay, and how did -- that's the extent of the source
18 back to school at Dorsey for patient care technician | 18 of your knowledge or did you find out --
19 but did not finish. 19 A. No, that's how I found out.
20 Q. Okay. Do you have any medical conditions or taking |20 Q. Okay. And each of the cars on the property were in
21 any medications that would impact your ability to 21 your name, correct?
22 testify today? 22 A. Right.
23 A. Imean, yes. Does that matter? 23 Q. Okay. And what was the address that the cars were
24 Q. Well, would it affect your memory at all? 24 linked to?
25 A. Yes. 25 A. I don't know.

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Elizabeth Nelson

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1 Q. Okay. 1 damage to the vehicles?

2 A. lLassume he put it toward the 7568, but I don't know | 2 A. Now there's a couple lawsuits going because one time

3 for a fact. 3 they -- I purposely parked my car like this, but

4 Q. Allright, you're talking about Mr. Thrower? 4 that's not this time, this is the four. Okay, the

5 A. Right. 5 four were parked like normal. Like here's the

6 Q. Okay, why do you say he would have done that? 6 fence. The wood fence goes on the one side. Now

7 A.  Tassume he would have done that. 7 the guy built up this side, but there was only a

8 Q. No, but was Mr. Thrower -- did Mr. Thrower help you | 8 wood fence like right here. And they were behind

9 with purchasing the cars and getting them titled and 9 the fence like one, two, three, four.

10 everything? 10 Q. Okay, why didn't you keep the cars there?

11 A. Yes, I don't have any money. I have $750 a month. | 11 A. Where am I supposed to keep the cars?

12 Q. Okay. 12 Q. Did you drive all of them?

13 A. I don't think that would purchase four cars. 13. A. Not at once, no.

14 Q. Okay, so Mr. Thrower purchased them for you and put | 14 Q. Well, | know not at once. But did you --

15 them in your name? 15 A. I'm poor -- I don't -- I don't -- why would I buy

16 A. He told me to buy them, it would be a good 16 four cars? That wouldn't even occur to my brain.

17 investment. 17 Okay, he's the one that says, hey, it's a good

18 Q. Okay. 18 investment. Okay. All right, I take your word for

19 A. I said, okay. So he did all the footwork, the 19 it. I don't know. Like even my dad, who was a

20 money, you know, I didn't know -- you know, I don't | 20 corporate guy and had money, didn't have four cars.

21 buy cars like for a hobby. 21 Q. Sodid you only drive one of the cars or did you

22 Q. Sure. So the money came from Mr. Thrower to 22 just choose which one you wanted to drive on a

23 purchase the cars? 23 particular day?

24 A. Right, right. 24 A. Tonly drove one of them, yeah.

25 Q. Okay. 25 Q. Okay. Do you know if the others were used at all?
Page 11 Page 13

1 A. Like a work bonus. 1 A. Imean, yeah, they were used.

2 Q. Isee. Okay. 2 Q. By who?

3 A. There has to be some bonus, right? 3 A. Hedrove them.

4 Q. Sure. So which cars were towed from the property? 4 Q. Okay.

5 A. The four that were there. 5 A. Imean he drove them back from the Michigan -- you

6 Q. Doyou recall what they were? 6 know, you have to get them when they're wrecked. He

7 A. No. 7 got them wrecked.

8 Q. Allright. Do you still own those cars? 8 Q. Okay.

9 A. I drive the Honda right now. That one's in my name. | 9 A. Okay, so you go on the website and you get the

10 That's it, I guess. The other ones are he sold them 10 wrecked cars and you have somebody fix them.

11 or whatever. II Q.  Tsee, okay.

12 Q. Okay. 12 A. SoI mean, but it took two of us to get them from --

13 A. Just the Honda is in my name. 13 I forget what you call that place, the Michigan -- I

14 Q. So you went with Mr. Thrower to retrieve the 14 forget what it's called. But, yeah, then you got to

15 vehicles when they were towed, correct? 15 get it off that property. Some of them run and some

16 A. Right, right. 16 of them don't run. So it's not really a single man

17 Q. And did you go inside and speak to anyone to 17 operation at anytime. I mean unless you're a

18 retrieve them? 18 mechanic type person.

19 A. No. 19 Q. Okay. How did you meet Mr. Thrower?

20 Q. Okay. 20 A. Iwas staying over on Packard and he appeared one

21 =A. It was like tiny and the COVID was going on. 21 day. I was renting a one bedroom. | don't know,

22 Q. So you didn't contract COVID from going to retrieve 22 this weird guy appeared and started running around

23 the vehicles? 23 acting real weird. I didn't know who it was. But

24 A. I didn't contract COVID at all. 24 about a month and a half later we were told that --

25 Q. Okay. And when you got the cars back, was there any | 25 my friend and I were told that he was like the new

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Elizabeth Nelson

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1 owner, I guess. 1 Q. Was there any damage to those vehicles?
2 Q. And you're talking about Mr. Thrower? 2 A. Not that I know of.
3 A. Right. 3 Q. Okay, and the fees that needed to be paid to
4 Q. Okay. 4 retrieve them Mr. Thrower paid, correct?
5 A. Right, the gentleman that owned it didn't tell us 5 A. Right.
6 anything like -- you know, nobody ever tells your 6 QQ. Okay.
7 renters anything. So we didn't know who this 7 MS. SELINA: I don't think I have any
8 strange guy was running around the place. 8 more questions.
9 Q. Okay. So whose idea was it to file this lawsuit 9 CROSS-EXAMINATION
10 against the City and the Service Towing? 10 BY MS. MEAD:
11 A. Well, obviously, mine. It Q. Good morning, Ms. Nelson.
12 Q. It was? 12 A. Good morning.
13 A. Well I'm pretty broke, yes. My sister stole 90% of | 13. Q. I'm Jennifer Mead and I represent the towing
14 my money. So, I'm sitting here wanting to retire 14 companies and the individuals, the Hertzes, the
15 and wanting to relax and I can't. Pretty annoying. | 15 individuals related to the towing companies. So
16 Q. Did you draft any of the documents that have been 16 I've got some questions for you. Now, as you heard
17 filed at all? 17 me tell Mr. Thrower before, if I ask a question and
18 A. How would I do that? 18 it just doesn't make sense to you, let me know,
19 Q. I'm just asking. 19 okay. If I fumble a question, which I do, if]
20 A. Without a legal background I doubt it. 20 fumble it, let me know and I'll rephrase it and we
21 Q. Okay, so Mr. Thrower drafted all the documents? 21 can get through it.
22 A. Right. Does that matter? 22 Now what is -- let me see. At the time
23 Q. No, I'm just asking. 23 that the -- back in May, May 2021 when the cars were
24 A. Yeah. I don't know how to do this stuff. 24 towed, what was your relationship with Mr. Thrower?
25 Q. Okay. When I sent the discovery requests to both of |25 A. I mean does sugar daddy count? Do you Birmingham
Page 15 Page 17
1 you, did you write those answers? 1 people use that? I'm from Macomb County. We use
2 A. HowcanI do that? I can't see the computer. 2 different phrases for different things.
3 Q. They're handwritten. Do you recall writing those? 3 Q. Okay.
4 A. No. I'm sure he did it. 4 A. Does that count, meaning some guy that helps you?
5 Q. Okay. 5 Q. Okay.
6 A. I mean, he's helping me with it. I can barely see. 6 A. Because obviously, like I said, my sister stole 90%
7 I mean, I can see to drive but it is rough some 7 of my money.
8 days. 8 Q. Okay.
9 Q. Okay. 9 A. Seven hundred and fifty a month isn't going to pay
10 A. You know, I'm ill with cancer, no. I can do, you 10 for anything.
It know, not a whole lot right now. That's what's 11 Q.  Sohe helps you?
12 worrying me. I'm sitting here can't do anything, 12 A. Right.
13 can't function, and I'm sick as flip. So what are 13 Q. Okay.
14 you supposed to do at 55? You're not cute anymore, | 14 A. Somebody has to. Might as well be him, right? It
15 so now what. You know, I go work at Walmart? I 15 can't be anybody I hang out with. They're poor.
16 have to do something. I mean, God knows I missed a| 16 Q. Do you work for him?
17 couple of the doctors I should have grabbed, but I'm |17 A. Part-time.
18 not really the sue type. 18 Q. Okay. And are the two of you in a dating
19 Q. Okay. So, the July 2021 when the cars were 19 relationship?
20 towed -- 20 MR. THROWER: Yeah, I objected to that
21 A. Right. 21 when they asked me.
22 Q. Were those cars also in your name? 22 MS. MEAD: Mr. Thrower, your deposition
23 A. Right. 23 is over. This is for Ms. Nelson.
24 Q. Okay. And you were able to retrieve those too? 24 THE WITNESS: No.
25 A. Right.

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Elizabeth Nelson

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1 BY MS. MEAD: 1 Q. You can hold on to that.
2 Q. Okay, okay. Now, when did you start living at 2 A. Idon't need that. I don't understand why you're
3 7568 Hudson? 3 asking me this.
4 A. Been there for a while. 4 Q. Okay.
5 Q. Okay. 5 A. What are you getting at?
6 A. Imean, I've been back and forth between like Ohio | 6 Q. Okay. So I'm asking this rental agreement --
7 and Michigan many, many times living in both states.| 7 A. Okay.
8 So, I mean, I don't know. I mean, I don't have the 8 Q. Is that your signature --
9 dates in front of me of when I moved in and all 9 A. Ofcourse.
10 that. I'm sorry. 10 Q._ -- in the lower --
11 Q. Do you know roughly what year? 11 A. Ofcourse. |
12 A. This was four years after -- okay, | had my surgery | 12 Q. If you could just allow me to ask the question, and
13 in '16 so this was 2020 or '21. 13 then if you could answer after.
14 Q._ I'll tell you what, let me show you -- this might 14 A. [know my own signature. That's my signature.
15 help. I'm not trying to make this into a memory 15 Q. Okay. What I'm trying to ask you to do is to not
16 quiz, and so -- 16 talk over me so that we can have a clear transcript,
17 A. I mean, I was living -- at the time that this 17 okay? Because the court reporter, she can only type
18 occurred, which is what is relevant, I was living at 18 when one person is talking at a time, okay. All
19 7568 Hudson and renting the apartment. 19 right So that's your signature on the rental
20 Q. Okay. 20 agreement?
21. A. That's all that's relevant, I think, right? Is like 21 A. Okay.
22 at the time where were you living? 7568 Hudson. 22 Q. Let me see. In the lower left-hand corner there's a
23 (Deposition Exhibit Number 3 23 signature for owner/slash agent.
24 was marked for identification) 24 A. Okay.
25 25 Q. Do you recognize that signature?
Page 19 Page 21
1 BY MS. MEAD: 1 A. Ofcourse.
2 Q. Let me just give you this and see if maybe this will 2 Q. Whose signature is that?
3 clear it up. I've got a copy of the rental 3 A. St. Anthony, Albert. Right.
4 agreement. 4 Q. Okay. That's St. Anthony, Albert is the signature?
5 A. Okay. 5 A. It's his signature, Albert Thrower.
6 Q._ I've got acopy of the rental agreement. And so, 6 Q. Okay.
7 I'm going to -- 7 A. St. Anthony Orthodox Monastery.
8 A. But you're asking me to remember something I can't 8 Q. Okay. So that's Albert Thrower's signature?
9 possibly remember. 9 A. Ofcourse.
10 Q. That's why I'm trying to -- 10 Q. Okay. And this rental agreement, the date that it
11 A. I bounce back and forth between Ohio and Michigan so | 11 was signed was August 10, 2018.
12 much I don't even know my name. 12 A. Okay.
13. Q. Okay, yes, Ms. Nelson, that's why I've got this 13 Q. Is that the date when you would have moved in?
14 document, and so I'm trying to help you and to see 14 A. I guess. I had surgery and almost died 2016, okay.
15 if -- 15 So for about two and a half years I couldn't eat.
16 A. Help me what? 16 After that finally about '19 -- it got a little
17 Q. To see -- hold on for a second. 17 better. I could barely stand up from after the
18 A. Idon't understand. The only thing that matters is 18 surgery I had multiple problems, multiple doctors.
19 where was I living at the time this occurred. I was 19 Everything was messed up for like at least four and
20 living properly at 7568 Hudson. 20 a half years.
21 Q. Okay. I'm going to hand -- 21 Q. Okay. Do you remember moving into the 7568 Hudson
22 A. Okay. 22 Avenue?
23 Q. -- to youa rental agreement. 23 A. No,I don't remember much from the time I had my
24 A. Which I can't see. Not really, a little bit but, 24 surgery until now. I don't feel well, lady. I'm
25 okay. 25 sorry to be rude. I don't mean to be rude to you or

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Elizabeth Nelson

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Page 22 Page 24
1 whatever. But no, I was trying to live. 1 A. No. I went on the property.
2 Q. Okay. 2 Q. Okay.
3 A. I didn't care. 3 A. Not in the office though, not in the little cubicle
4 Q. Okay. 4 office thing, but on the property I was.
5 A. Imean I assume that was the date I moved in. What) 5 Q. Okay.
6 does that have to do with today though? I don't 6 A. Yes, I got out of the car.
7 mean to be irritating, but I don't understand. 7 Q. Oh, okay, all right. And Mr. Thrower actually went
8 Q._ I'mtrying to get some background information just 8 into the office?
9 to see how long you'd been living at that address. 9 A. Right.
10 A. Okay. 10 Q. Okay?
11 Q. This is a deposition and I can get background 11 A. It was a tiny office and with COVID going on, you
12 information. 12 could only have one person in there.
13. A. But you aren't -- okay. 13 Q. Okay.
14 Q. That's all I'm doing. 14 A. There were two people in there already, I wasn't
15 A. I just don't feel well, so... 15 going to squash in.
16 Q. How much do you pay -- how much did you pay to live | 16 Q. Nowon May 1, 2020, did you own each of the four
17 at 7568 Hudson? 17 vehicles?
18 A. Whatever it says on the sheet. Like I said, I don't 18 A. Right.
19 remember a whole lot about anything, especially this | 19 Q. Did you sell any of the vehicles to Albert Thrower?
20 stuff. Six-hundred, I guess. 20 A. No, not that I know of, but God only knows.
21 Q. Okay. So who was your landlord while you were 21 Q. Okay.
22 living at the 7568? 22 A. Like I said, I don't know if he put it down that I
23 A. Albert Thrower. 23 sold it to him. Like I said, I'm not concerned
24 Q. Okay. And are you still renting from 24 about this. I'm concerned about trying to survive
25 Albert Thrower? 25 the day without ending up in the hospital right now.
Page 23 Page 25
1 A. No. 1 I don't feel well and I need to rest.
2 Q. Okay. Now did you ever contract COVID after 2 Q. I'msorry.
3 May 1, 2020? 3 A. I'msorry too.
4 A. No,I never contracted COVID, period. 4 (Deposition Exhibit Number 4 and
5 Q. Okay. Dida doctor advise you -- did a doctor at 5 5 were marked for identification)
6 Eastern Michigan -- 6 MS. MEAD: What exhibit are we at?
7 A. Right, my family doctor, yes. 7 THE WITNESS: I don't see what difference
8 Q. Okay. Did he advise you not to come to Michigan? 8 that makes either. That doesn't matter. That was
9 A. Right, yes, correct. 9 after that anyhow.
10 Q. Okay. What's the name of that doctor? 10 BY MS. MEAD:
11 A. I don't recall. 11 Q. Now I'm going to hand you two certificates of title.
12 Q. Okay. 12 I've got these marked as Exhibits 4 and 5.
13. A. He has an office in that weird spot, where is it? 13. A. Okay, thank you. I don't know why you're giving
14 Past U of M. He's got a family doctor, like there's 14 these to me. I can't see them. Look at these
15 an office building. 1 think there's a couple of 15 copies, can you see that? I cannot see this. But,
16 different doctors in there from EMU. I mean there's | 16 okay, go ahead. Why is that relevant or important,
17 lots of them, but that one is like in an offshoot 17 please?
18 area. 18 Q. These are the copies of the titles that were
19 Q. All right. Now when -- all four vehicles were 19 provided in documentation from you.
20 retrieved from Service Towing, correct? 20 A. Okay.
21 A. Right. 21 Q. And so these are the best copies that we have.
22 Q. And you never entered into Service Towing to 22 A. Okay.
23 retrieve the cars, correct? 23 Q. So that's why I'm using these is because --
24 A. I went on the property. I didn't go in the office. 24 A. Okay.
25 Q. Okay. So you remained in the car? 25 Q.  -- better copies were not provided to us --

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Elizabeth Nelson

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1 A. Okay. 1 explained this to you that this kind of thing is not
2 QQ. --as part of the lawsuit. 2 what I'm good at, it's not what I do. So -- and I'm
3 A. Okay, so what is your question, please? 3 not interested in it at all, obviously, since I
4 Q. Soon the title to the 2012 Mazda -- 4 drive the crappier of the cars, okay. I like old
5 A. Okay. 5 cars, not new ones.
6 Q._ --that title shows your signature; is that correct? 6 So, you know, I don't know. Sometimes
7 A. Right. 7 you have to listen to somebody that's smarter than
8 Q. Okay. Now it -- I want to confirm there's also 8 you. Well, he's smarter when it comes to money. I
9 Albert Thrower's signature as the purchaser. 9 just spend money. I don't know how to make money.
10 A. Okay. 10 Q. Do you know if he gave you any money for the car?
11 Q. Okay, there's no date on his signature. 11 A. He didn't give me any money for the car that I know
12 A. What does that mean? You're good in the law, I'm | 12 of.
13 not. I don't understand. 13 Q. Okay. Did Mr. --
14 Q. Okay. This is not a legal question, ma'am. Look at 14 A. AIII know is we went to the tow -- not the tow
15 the Exhibit 4 that I've handed to you. 15 place, but the place, got four wrecked cars. He
16 A. Okay. 16 said it would be good to fix them up, have some
17 Q. Is there a date on -- is there a date by 17 other vehicles an option or whatever. So I did what
18 Albert Thrower's signature? 18 the man said. Because I don't know any better about
19 A. I can't really see it very well. I don't see a 19 this kind of thing.
20 date. But what is your point, please? 20 Q. Okay.
21 Q. When did Mr. Thrower sign? 21 A. Right? Right. So I don't know what I'm doing with
22 A. I don't know. 22 regard to buying cars. My father was a corporate
23 Q. Okay. Did you sell the 2012 Mazda? 23 man. He didn't buy cars. As a matter of fact we
24 A. Ifhe wrote it down that I did, I did, right, 24 had to beg my father not to run out of oil. He
25 correct. He does the work. I don't know how todo | 25 wouldn't even get his oil changed.
Page 27 Page 29
1 this stuff. I repeated this. No offense or 1 QQ. Okay.
2 anything, but I told you. I don't know how to do 2 A. He was a corporate man.
3 this stuff by myself. It wouldn't even occur to me 3 Q. The Exhibit Number 5, if you'd like to look at it.
4 to do this stuff by myself. I don't think like 4 And again, I know this is what was provided to us.
5 this. I'm a creative person, not like invest in 5 A. Okay.
6 this or that. And my father did not teach me to buy 6 Q. Is that car also -- was that car also in your name?
7 cars. 7 A. Which car is this?
8 QQ. Did you -- 8 Q. This is a 2012 Mazda station wagon.
9 A. I'msorry, but... 9 A. ITassume it was in my name. Why?
10 Q. Okay, so you're not sure when he signed it? 10 Q. Okay.
11 A. He prepared the lawsuit, correct? He prepared 11 A. All four cars were in my name. All four cars that
12 everything. So do I know the date that we did each 12 were on the property were under my name.
13 booking of papers? No. Is that what you're asking? 13 Q. Okay.
14 Q. What I'm asking, this -- 14 A. Allright.
15 A. I don't see a date on the form. 15 Q. Nowis on Exhibit 5, is -- did you sell this car to
16 Q. Okay. But the car was titled to you, correct? 16 Albert Thrower?
17 A. Right. 17 A. Ifthat's what the paperwork says.
18 Q. Okay. And you sold the car to Albert Thrower? 18 Q. Do youknow how much?
19 A. Ifthat's what the paperwork says, yes. 19 A. Ma'am, with all due respect, I'm lucky if I can
20 Q. How much did you sell the car -- 20 remember yesterday. The cancer has spread. Okay, I
21 A. I don't know. How am I going to know? I'm fighting | 21 was operated on in 2016. It took me two and a half
22 for my life, I don't know this stuff. That's why I 22 months to form a full sentence. That's how much
23 have him. I don't care about this stuff. Don't you 23 medication they gave me, okay. I had to actually go
24 understand? This is not my forte. I'm not -- this 24 to bed, okay. He tried to work me to death and my
25 isn't something I would do by myself. I've 25 neighbors saved my life and said, you're going to

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1 bed. You cannot sit there and have a major 1 A. You're treating me like I'm retarded. I kind of am

2 operation and be up and trying to work and stuff, 2 in a way because I don't feel well, okay, I'm

3 okay. 3 exhausted. I want to go home and go to bed now.

4 So I mean you're asking something I can't 4 Any documents or something, he drew this up because

5 tell you. That's why he does my work for me, 5 I can't do this type of work. So if you have a

6 because I'm not interested in vehicles unless 6 question on any document, date, place, time, you

7 they're like '67, okay. I don't like modern cars 7 have to ask Mr. Thrower. But I mean I didn't write

8 and modern things. Not to be frustrating, but -- 8 down everything at the time. I was trying to save

9 Q._ [understand that. 9 my life.

10 A. Okay. 10 Q. And E understand that.

11 Q. And I apologize for the cancer and what you've been 11 A. Sorry. So all questions pertaining to paperwork

12 through. But I also have to ask these questions. 12 you're going to have to ask him.

13 A. But if I don't remember, then how are we supposed to | 13 Q. So let me just ask you a question -- let me ask you

14 proceed? 14 some questions. And if you want to answer however

1S Q. Well -- 15 you want to answer, just answer them for me.

16 A. I barely remember yesterday and that you said to 16 A. I'm doing my best.

17 tell the truth, didn't you? 17 Q. Did you file a --

18 Q. Yes. 18 A. Idon't know. How would I know that?

19 A. Okay. Now during this time I was going to EMU for | 19 Q. Ma'am --

20 my medical care, and it wasn't going well because 20 A. He did the lawsuit. We're done. I'm going home and

21 the COVID hit. So, therefore all of us that didn't 21 I'm going to bed. You can do what you want. I

22 have COVID, all right, that had cancer, were kind of 22 answered the question.

23 like dumped in this pile of people that really 23 MR. THROWER: Hey. just tell her you

24 didn't get seen for a while. It took them a while 24 never filed a petition.

25 to figure out, okay, this person needs this video 25 THE WITNESS: I don't know if I did or I
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1 visit, this person has to -- you know, it took a 1 didn't. You did it.

2 while for like -- I had no medical care for a while 2 MR. THROWER: You didn't file.

3 because the patients that weren't like needing 3 THE WITNESS: Well, I don't know. How am

4 immediate surgery were like kind of shuffled off for 4 I supposed to -- you tell me to tell the truth. So,

5 a moment because they didn't know what to do. 5 I tell the truth. I'm not sure, I don't know. And

6 Q. Well let me ask. Once you received the notice of 6 then you question what I'm saying. I'm saying I

7 abandoned vehicle, did you file petition to contest? 7 don't know. If 1 don't know, I don't know.

8 A. Idon't remember receiving any notice. He called me | 8 BY MS. MEAD:

9 and said the vehicles were gone. 9 Q. Ma'am, I need to ask the entire question without you

10 Q. Okay. Did you ever file a petition to contest 10 cutting me off.

11 whether it was proper for the vehicles being removed li A. Okay.

12 and deemed abandoned -- 12 Q. So let me ask the entire question.

13. A. It was never proper for the vehicles to be touched 13. A. Okay.

14 at all. 14 Q. Once you received the notice of abandoned

15 Q. Ma'am, if you could listen to my question. 15 vehicle --

16 A. IThear you. Ask him, he's the one that did the 16 A. Inever received a notice. He called me and said

17 lawsuit. 17 the vehicles were gone. I didn't receive a notice

18 Q. We've already concluded his deposition. 18 in the mail or in my postbox or anywhere. There was

19 A. Okay, so I don't know. 19 no notice I received. He called me and said the

20 Q. This is your deposition. 20 vehicles were gone.

21 A. To answer all your questions about any kind of 21 Q. Okay. Did you file a petition to contest whether it

22 documents, ask him. I mean I don't mean to be rude, | 22 was proper for the vehicles being removed --

23 but, I don't know and I can't tell you. 23 A. I don't know.

24 Q. But I need you to ask you a question and I need for 24 Q. Ma'am, if -- please stop interrupting.

25 you to answer. 25 A. Well, I can't do that.

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1 Q. You will make -- 1 section? No.
2 A. Because I do not know. I've answered your question | 2 Q. Okay.
3 three times. 3 A. Do you know what I mean? I don't know if that makes
4 Q. No, you have not. 4 sense.
5 A. I'm not going to keep answering your question. 5 Q. You don't have any memory or any knowledge of filing
6 Q. Youhave not. You will not allow me to answer (sic) 6 a petition in the 37th District Court?
7 the question. 7 A. Imean, memory, what does that mean? That means to
8 A. You already said that, did you file this. I don't 8 me now or at the time? Are you talking about now or
9 know. Ask him. I answered you. I didn't file 9 like when that was filed, all this stuff? I mean
10 anything. I don't know how to file anything. I've 10 there were different dates when stuff was filed.
11 explained this to you nicely. I can't do this if I 11 Q. Did you file things in the 37th District Court?
12 tried. 12 A. No, he went with me to do it. I don't know how to
13 Q. Okay. 13 do this. That doesn't make any sense. I wouldn't
14 A. Okay, I'm trying to answer your question. You said | 14 do this by myself. This is not my thing. That's
15 to tell the truth. The truth is I don't know if I 15 why he's helping me.
16 filed it or not. Ask Mr. Thrower. He's the one 16 Q. Okay.
17 that wrote this up. I'm telling you the truth. 17 A. He went with me every step of the way, wrote it up,
18 Q. So you don't have any knowledge -- you don't have 18 told me this is what this is. But do I remember the
19 any knowledge -- 19 exact date I signed this or -- no.
20 A. He told me what he was doing each step of the -- 20 Q. Okay.
2] MR. THROWER: Hey, just relax. 21 A. He let me know though, but it's gibberish to me
22 Everything's going -- 22 because I don't speak law. I mean, I listen and
23 THE WITNESS: Wait a minute. No, no, no 23 everything but it doesn't mean a whole lot to me. I
24 no. No, I'm answering the question correctly and 24 mean, I don't really understand it like you do or
25 telling the truth. I was quiet during yours. He 25 she does or that lady. Sorry.
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1 wrote everything up and told me at each step whathe | 1 Q. Are you seeking any damages --
2 was doing and if he needed my signature on anything. | 2 A. I'm seeking money.
3 BY MS. MEAD: 3 Q. Okay.
4 Q. Okay. 4 A. I'm broke.
5 A. There were several steps to all this stuff. I'm not 5 QQ. Are you seeking damages for the personal property
6 like a law person at all, obviously. So he tells 6 such as like a bag of cans, pop bottles,
7 me, okay, I'm doing this, I'm filing this. But I 7 returnables, are you seeking any --
8 don't pay attention too much because that's not my 8 A. Ifthat's what he wrote down, yes.
9 side of the brain. I mean, I'm trying. You know, 9 QQ. Okay.
10 but good God, I mean, paperwork is like that. I 10 A. I'msure he wrote that down, right? It's on a paper
11 don't know. 11 somewhere, correct?
12 Q. So you have no memory or any knowledge -- 12 Q. Are you seeking damages from the towing --
13. A. Ihave a memory of him taking a stack of papers, 13 A. I'm seeking damages because you towed my cars,
14 okay? And he brings them to me, right, like this. 14 mostly. If he put down the cans, put down the cans
15 And he says, okay, we've got this, we've got this, 15 with it.
16 but none of it makes sense to me because I'm not a 16 Q. Are you seeking money from the towing company for
17 law person. You can talk about a deposition, you 17 the cans?
18 can talk about going to court and all this stuff, 18 A. Idon't know. Is it in there?
19 but it's just an area I'm not gifted in. So, yeah, 19 Q. What about --
20 I'm listening but not really -- if you speak medical 20 A. Isit in the paperwork? If it's in the paperwork, I
21 I can speak that. If you speak animal, I can speak 21 am. If it's not, I'm not.
22 that. Law I don't speak. I'm just not gifted. 22 Q. Okay.
23 So I wanted him to write everything up 23. A. These are questions you have to ask Mr. Thrower.
24 and he does tell me at each interval what he's 24 Q. Allright. What about bumper wrap, two bags of
25 doing. But do I remember the exact day on the exact | 25 salt, doghouse --

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1 A. If it's written down. Is it written down on one of 1 Obviously, it was not. I mean, are you good? I

2 your sheets? 2 hope.

3 Q. But you don't have any independent personal 3 BY MS. MEAD:

4 knowledge of seeking -- 4 Q. I've got a few more questions and then I'm done.

5 A. He said something about other stuff, right, at some 5 Okay.

6 point. 6 A. Quickly, please.

7 QQ. Allright. 7 Q. Okay. Now as far as the individuals, the individual

8 A. I'm mostly upset with the towing of the cars which 8 Hertzes, Sandra Hertz, Edward Hertz, Bruce Hertz,

9 shouldn't have occurred anyway. 9 Dennis Hertz, Randy Hertz. Do you have -- what

10 Q. Okay. 10 facts do you have that any of those individuals

11 A. But yes, if that's written down, then it's written 11 entered into a conspiracy with the City of Warren,

12 down. 12 defendants?

13. Q. Okay. Do you have any independent knowledge of how |13 A. Ihave this knowledge. Everybody hates him, okay.
14 much you're seeking from the -- 14 So stuff happens to happen to this dude because

1S A. No, it's in the paperwork. 15 nobody -- because he does things that people don't
16 Q. Okay. 16 like. Now, when you do things people don't like,
17 A. Idon't have any knowledge of any of this. He let 17 they tend to turn on you. The whole city of

18 me know this stack is this, this stack is this. 18 Warren's turned on him. He's not allowed to own
19 Here's the date, sign it. Fine. That's what he's 19 rental property in the city of Warren. They hate
20 for. 20 him. So, yes, things happen to people that people
21 Q. Do you have any knowledge -- 21 hate, okay? You understand? Okay.
22 A. Ihave knowledge of the fact that I'm going home and | 22 Q. Can I ask -- and [ just want to clarify for the
23 going to bed because this is getting stupid. I'm 23 record.
24 real sorry, you're sweet and everything, but I'm 24 A. Clarify.
25 going home and going to bed. I don't feel well. 25 Q. When you say him --

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1 MR. THROWER: Hey, just listen. 1 A. Albert Thrower, right here. He's the hated one,

2 THE WITNESS: Listen, I'm mad now. I 2 believe me. They hate him in Ohio too, not just

3 don't feel well and you didn't treat me good today, 3 Michigan. Two states, two states. I've never heard
4 and I told you this. All right. I told you I was 4 of this in my whole entire 55-year-old life of

5 going to lose it if you were mean and were you mean {| 5 somebody being hated as much as this man is hated.
6 on the way here. I told you this. I told you good, 6 And believe me the City of Cleveland hates him just
7 loud and clear. I'm very clear, that's something I 7 as much as the City of Warren. I've never, you

8 am, okay. I told you I was going to get tired and 8 know, had a friend like this. I hope never to

9 run out of patience. Did I not tell you that, yes 9 again.

10 orno? Did I tell you that? 10 Q. Do you know of any facts, do you know anything

11 MR. THROWER: Just answer the questions II that --

12 and make it short. 12 A. Facts? The whole city of Warren is hearsay. We all
13 THE WITNESS: No, did I tell you that, 13 talk --

14 yes or no? Did I tell you that? 14 MR. THROWER: Just let her answer (sic)

15 MR. THROWER: Were in the middle of a 15 the question so we can get out of here. She hasn't

16 deposition. 16 even asked -- just let her ask her question.

17 THE WITNESS: I don't care. Did I tell 17 THE WITNESS: I don't care, I told you

18 you that? Did I explain that to you that I don't 18 I'm crabby.

19 feel well and I'm going to get crabby if you're 19 MR. THROWER: So we can get out of here.
20 mean. Did I tell you that? Yes or no? 20 THE WITNESS: No, I told you I'm crabby.
21 MR. THROWER: Yeah. 21 MR. THROWER: Listen to the question.
22 THE WITNESS: Okay, I'm mean. I'm ready | 22 THE WITNESS: I don't have to listen to
23 to go home. I don't feel well. I never had 23 shit. I don't feel well and I'm dying and I don't
24 interest in this in the first place except, you 24 want to spend my time like this. I told you I was
25 know, it sounded like a good idea at the time. 25 going to get mean and nasty if you were mean. I

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1 don't do mean, okay. You want to be mean to me, any | 1 THE WITNESS: They're on the table. Go.
2 friend of mine, I'm fighting back because I don't 2 MR. THROWER: -- for service.
3 care anymore. Do you understand? | tell all my 3 THE WITNESS: Please go.
4 friends this, every single one of them. You want to 4 MR. THROWER: All right.
5 be mean, I'm going to throw the porcupine back at 5 THE WITNESS: Thank you.
6 you. You said that was the legal battlefield. 6 MR. THROWER: Yeah, don't bring it out
7 MR. THROWER: Just let her ask the 7 with you.
8 question. 8 MS. MEAD: I would also like to make a
9 THE WITNESS: Why? I'm mad now, I'm here |; 9 record that I have not been retained by Service
10 and I'm angry. 10 Towing, Able Towing, any --
Il MS. MEAD: We're wrapping up. 11 THE WITNESS: You're not leaving me here,
12 THE WITNESS: Why don't you go outside? 12 right?
13. Why don't you go outside? That's a good idea. I 13 MR. THROWER: No.
14 went outside during your portion. Why don't you go_ | 14 THE WITNESS: I'm just asking.
15 outside during mine? Because that would make me 15 MS. MEAD: The Hertz family members or
16 less mad. 16 anyone else to accept service of process on their
17 MR. THROWER: Okay, that's fine. 17 behalf in any new matters.
18 THE WITNESS: Thank you. 18 MS. SELINA: Okay.
19 MR. THROWER: Here, before -- I assume 19 BY MS. MEAD:
20 you can take service on the -- 20 Q. Do you know Sandra Hertz?
21 MS. SELINA: No, I'm not authorized to 21 A. No.
22 accept service. 22 Q. Okay. Do you know of any facts that Sandra Hertz
23 MR. THROWER: Well, what I'm going to do 23 entered into a conspiracy with any of the City of
24 is under the federal rules, that you are the lawyer 24 Warren defendants?
25 of record, so if that's an issue -- 25 A. No.
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1 MS. SELINA: I am not lawyer of record. 1 Q. What about Edward Hertz, do you know him?
2 And in anew action I'm not accepting service. 2 A. No.
3 MR. THROWER: Well, you witnessed that! | 3 Q. Do you know of any facts that he entered into any
4 gave service right here. 4 conspiracy?
5 MS. SELINA: It's on the record. 5 A. No. Like I said, we just talk. It doesn't mean
6 MR. THROWER: Here's for -- 6 anything. There are no facts. It's just talk. We
7 MS. MEAD: And I am not accepting service | 7 know what really happens, all of us, all of us that
8 for -- 8 live there. Many of us are poor, but we don't have
9 MR. THROWER: Well, that shows that 9 facts. We don't walk around with a sheet, no.
10 you're the lawyer of record. 10 Q. Okay.
11 MS. SELINA: I'd like to make a record 11 A. No, we don't have facts.
12 too. 12 Q. Okay. And is that true for Bruce Hertz,
13 MR. THROWER: You can show the federal | 13 Dennis Hertz?
14 rules that you being the lawyer of record that you 14 A. I don't know any of those.
15 can't serve -- take service. 15 Q. Okay, Randy Sullivan or Randy Hertz?
16 MS. SELINA: Okay, so I have not been 16 A. I don't know any of those people.
17 retained by the City of Warren in any new matter. 17 Q. Okay. And you don't have any facts that they
18 I'm not authorized explicitly by the City, not 18 entered into a conspiracy?
19 authorized to accept service on behalf of any new 19 A. No.
20 action by Mr. Thrower or Ms. Nelson. I do represent | 20 MS. MEAD: All right, I don’t have any
21 the city in this action, but this is a new matter in 21 other questions.
22 which | have not filed an appearance and I'm not 22 MS. SELINA: I have just -- really quick,
23 authorized to accept service. 23 I promise.
24 MR. THROWER: You've got to leave these | 24 THE WITNESS: That's okay. Once he left
25 -- you've go to leave these on the table -- 25 I felt better.

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1 REDIRECT EXAMINATION 1 CERTIFICATE OF NOTARY PUBLIC - COURT REPORTER
2 BY MS. SELINA: 2 I do certify that the attached
3 Q. No, I understand. 3 deposition was taken before me in the above-entitled
4 A. Thank you. 4 Matter; that the witness was first sworn to testify
5 Q. Do you have any facts to support the allegations in 5 the truth; that the testimony contained herein was
6 the complaint against any of the City of Warren § Py me reduced to writing in the presence of the
7 witness by means of stenography, and afterwards
7 defendants?
8 A. I don't -- okay, they just towed the cars, that's 8 transcribed upon a compucer The attached pages are
9 a true and complete transcript of the testimony and
9 all I know. They should not have done that, period,
10 proceedings.
10 that's it. Obviously, you know, they were plated,
11 I do further certify that I am not
11 titled and all that, so they shouldn't have been 12 connected by blood or marriage with any of the
12 touched, period. 13 parties, their attorneys or agents, and that I am
A d MS. SELINA: Okay, all right, I'm all 14 not an employee of either of them, nor interested,
good. 15 directly or indirectly, in the matter of
15 THE WITNESS: I'm supposed to leave this | ,, vonteoverey. ”
16 here, he said. I guess. 47 IN WITNESS WHEREOF, I have hereunto set
17 MS. SELINA: T mean, I'm not accepting 18 my hand and affixed my notarial seal at West
18 service. But I'd like to order a full copy of both 19 Bloomfield, Michigan, County of Oakland, this 2nd
19 depositions of Mr. Thrower and Ms. Nelson. 20 day of August 2023.
20 MS. MEAD: | did not look at the a1 Nessoo. Wf hd
21 magistrate's or the judge's descriptions whether ,
22 they want -- whether they would accept minuscripts. | 22 Theresa L. Roberts, CSR
23 MS. SELINA: Like the small versions. 23 Certified Shorthand Reporter - CSR-4870
24 We'll take the full size. 24 Notary Public - Oakland County, MI
25 MS. MEAD: I'll take the electronic as 25 My commission expires 10-4-2027
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1 well.
2 (Deposition concluded about 12:23 p.m.)
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Original ~ Bureau

1* Copy — Petitioner
‘4 _ ’ 2 Copy — Responden|
ADMINISTRATIVE HEARINGS DEFAULT DECISION AND TICKET NO,, PROPERTY
BUREAU ORDER ‘ ANDRESS ‘
YOase sq WW)
BEB LURSOW
8300 Common Road, Warren, Michigan 48093 , . (586) 574-4700
Inepedtar, address, and telephena numbor Respondents nante and address a
Beat Baralanport - | ageer THROWER
CITY OF WARREN . . Lo
QNEGITYSQUARE , 6B Hubsoy 4
WARREN, MICHIGAN 48083 wR, mi 4808
Telephone. S96 \S04-Y S03
IT {S 'HELD that: . . . oat
1. The Administrative Hearings Officer (AHO) finds that respondent Is reaponsible by default of all
_ blight vidlation counts. Le .
_ 2. Respondent had notice of the hearing date and time, and falled to appear on that date and fine,
3. | ovided respondent natice of this violation by posting a copy of

- the dcket In a prominent place at the address where the violation accurred or sent a copy of the
ticket by first-class mall to respondent's last known address or personally served respondent with a
copy of the ticket. This paragraph [s made on my personal knowledge. If sworn as a witness, | can.
testify competentty, to the facts in this paragraph.

Z1¢bo JoBedi tt

Date 87° inspeotor
IT{S ORDERED that respondent
1. WES ane costs in he ammount of
Count! 1000 Count IL__—<_Count NL_-—_ TOTAL ¥/000 _

' {indicale fst violation, 2nd Violation; or 3rd or more violation for each count)
2. U1 Reimburse the City of Warren for enforcement costs in tha amount of (see
enforcement cost form). '
3. (Fines are waived because tha violator is an owner-occupier of the dvsalling, is a firstime
offender, and has corrected the violation. . Leo

4. © Other _-- : : oo
IT 1S ALSO ORDERED that if respondent fails to correct the viciation(s) within 30 days, the Clty may” °

cirrect the violation and request enforcement costs. .

2/Y /% Qh.
Date =” .. .

Administrative Hearings Bureau Officer

Send payment to or pay in person at the 37th District Court. Make checks payable to the 37th District
Court.

Respondent may file a motion to set aside this defaull decision and order within 21 days of the date of
this order, Motion to Set Aside forms are available at the Violation's Bureau In the 37th District Court.

Respondent may appeal an adverse decielon of the Administrative Hearings Bureau to the Macomb
County Circuit Court within 28 days of the dats of this order.

Ex &
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISON
ELIZABETH NELSON and ALBERT THROWER, Case No. 2:22-cv-10918
Hon. Matthew F. Leitman
Plaintiffs, Mag. Judge Anthony P. Patti
-V-
SERVICE TOWING, INC., et al.,
Defendants.
/
Elizabeth Nelson Jennifer Mead (P57106)
P.O. Box 1422 P.O. Box 806042
Warren, MI 48090 St. Clair Shores, MI 48080
In Pro Per (313) 485-1250
Attomey for Service Towing, Inc.
Albert Thrower Defendants
P.O. Box 602637 meadjenn@hotmail.com
Cleveland, OH 44102

Rachel C. Selina (P85430)
255 E. Brown Street, Ste. 320

Birmingham, MI 48009-6209
(248) 645-9680 rselina@berrymoorman.com

DEFENDANT DENNIS HERTZ’S
ANSWERS TO PLAINTIFFS’ REQUESTS FOR ADMISSIONS

NOW COMES Defendant DENNIS HERTZ, by and through undersigned counsel,
pursuant to F.R.Civ.P. 36 and hereby responds to Plaintiffs’ joint Requests For Admissions as
follows:

17. | Admit that there was a privacy fence on the adjacent lot to the 7568 Hudson Ave
Warren MI address 5/1/20 when you towed the 4 cars. ADMIT/DENY
RESPONSE: Defendant Dennis Hertz cannot truthfully admit or deny this request as after a

reasonable inquiry, the information defendant knows or can readily obtain is insufficient to

Ex 7 p!

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enable defendant to admit or deny. As part of the inquiry, defendant reviewed plaintiff's Exhibit
N, which is plaintiff's picture of a wooden fence but plaintiff's photo is so blurred and light that
one cannot see precisely where the wooden fence is or on which property it is located.

18. Admit that all 4 vehicles towed from the 7568 Hudson Ave Warren MI 48091
address and the adjacent lot had Michigan license plates attached to them ADMIT/DENY
RESPONSE: Admit.

19. | ADMIT/DENY that a vehicle owner under Michigan law cannot obtain license
plates without showing proof of full coverage insurance
RESPONSE: Denied, as a vehicle owner in Michigan can obtain license plates by showing
proof of no-fault, which is less coverage than “full coverage insurance”.

44. Admit that ALBERT THROWER recovered 4 vehicles that were towed from
7568 Hudson Ave Warren MI 48091, 5/2/20, 5/3/20 ADMIT/DENY
RESPONSE: Admit, after a review of the towing invoices.
45. Admit that when ALBERT THROWER was in the SERVICE TOWING, INC.,
ABLE TOWING LLC office 5/2/20 that a black lady entered the office AFTER THROWER
ENTERED OFFICE and the black lady was not told to wait outside by you or anyone elese
working in the office. ADMIT/DENY
RESPONSE: Defendant cannot truthfully admit or deny this request as after a reasonable
inquiry, there is no recording or document which supports plaintiff's request. The information

known to defendant or that he can readily obtain is insufficient to enable defendant to admit or

deny.

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71. ADNUT/DENY that ELIZABETH NESLON would need a “helper” to retrieve 4
vehicles that «ere towed by SERVICE TOWING, INC., ABLE TOWING LLC and or Hertz
Bros defendaz:s 5/1/20 FROM 7568 Hudson Ave Warren MI 48091
RESPONSE: Denied, as plaintiff Nelson could travel to Service/Able Towing and redeem the
vehicles herself.

91. |ADMIT/DENY that two of the vehicles towed 5/1/20 trom 7568 Hudson Ave
Warren MI 48091 were on the concrete drive.

RESPONSE: Denied, as to the best of defendant’s knowledge, information and memory, the
vehicles were left on the grass.

92. | ADMIT/DENY two of the vehicles were taken from behind a privacy fence
RESPONSE: Defendant cannot truthfully admit or deny this request as after a reasonable
inquiry, the information defendant knows or can readily obtain is insufficient to enable defendant
to admit or deny. As part of the inquiry, defendant reviewed plaintiff's Exhibit N, which is
plaintiff's picture of a wooden fence but plaintiff's photo is so blurred and light that one cannot
see precisely where the wooden fence is (or on which property it is located) in order to refresh.
his memory as to the location of each vehicle. Defendant’s best memory is that each vehicle was
parked on the grass and is unable to recall if any vehicle was behind a privacy fence.

94.  Admit/Deny that you entered the property 7568 Hudson Ave Warren MI 48091
5/1/20 and towed 4 vehicles without ever seeing a search warrant
RESPONSE: Defendant admits that on 5/1/20 he, on behalf of the company, only towed 1 of the
4 vehicles (and denies that he towed 4 vehicles) and that he did not see a search warrant but in

practice and custom, law enforcement does not normally show towing companies search
P

warrants.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISON
ELIZABETH NELSON and ALBERT THROWER, Case No. 2:22-cv-10918
Hon. Matthew F. Leitman
Plaintiffs, Mag. Judge Anthony P. Patti
-v-
SERVICE TOWING, INC., et al.,
Defendants.
/
Elizabeth Nelson Jennifer Mead (P57106)
P.O. Box 1422 P.O. Box 806042
Warren, MI 48090 St. Clair Shores, MI 48080
In Pro Per (313) 485-1250
Attorney for Service Towing, Inc.
Albert Thrower Defendants
P.O. Box 602637 meadjenn@hotmail.com
Cleveland, OH 44102

| Rachel C. Selina (P85430)
255 E. Brown Street, Ste. 320

Birmingham, MI 48009-6209
(248) §A5-9680 rselina@berrymoorman.com

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v
DEFENDANT RANDY’S [HERTZ; INCORRECT NAME}

ANSWERS TO PLAINTIFFS’ REQUESTS FOR ADMISSIONS

NOW COMES Defendant RANDY [HERTZ; INCORRECT NAME], by and through
undersigned counsel, pursuant to F.R.Civ.P. 36 and hereby responds to Plaintiffs’ joint Requests
For Admissions as follows:

17. Admit that there was a privacy fence on the adjacent lot to the 7568 Hudson Ave
Warren MI address 5/1/20 when you towed the 4 cars. ADMIT/DENY
RESPONSE: Defendant cannot truthfully admit or deny this request as after a reasonable

inquiry, the information defendant knows or can readily obtain is insufficient to enable defendant

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to admit w deny. As part of the inquiry, defendant reviewed plaintiff's Exhibit N, which is
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see precisely where the wooden fence is or on which property it is located.

18. Admit that all 4 vehicles towed from the 7568 Hudson Ave Warren MI 48091
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RESPONSE: Admit.

19. ADMIT/DENY that a vehicle owner under Michigan law cannot obtain license
plates without showing proof of full coverage insurance
RESPONSE: Denied, as a vehicle owner in Michigan can obtain license plates by showing
proof of no-fault insurance, which is less coverage than “full coverage insurance”.

44. Admit that ALBERT THROWER recovered 4 vehicles that were towed from
7568 Hudson Ave Warren MI 48091, 5/2/20, 5/3/20 ADMIT/DENY
RESPONSE: Admit, after a review of the towing invoices.

45. Admit that when ALBERT THROWER was in the SERVICE TOWING, INC.,
ABLE TOWING LLC office 5/2/20 that a black lady entered the office AFTER THROWER
ENTERED OFFICE and the black lady was not told to wait outside by you or anyone elese
working in the office. ADMIT/DENY
RESPONSE: Defendant cannot truthfully admit or deny this request as after a reasonable
inquiry, there is no recording, video or document which supports plaintiff's request. The

information known to defendant or that he can readily obtain is insufficient to enable defendant

to admit or deny.

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71 4 >MIT/DENY that ELIZABETH NESLON would need a “helper” to retrieve 4
vehicles th ‘ere towed by SERVICE TOWING, INC., ABLE TOWING LLC and or Hertz
Bros defencants 5/1/20 FROM 7568 Hudson Ave Warren MI 48091

RESPONSE: Denied, as plaintiff Nelson could travel to Service/Able Towing and redeem the
vehicles herself.

91. | ADMIT/DENY that two of the vehicles towed 5/1/20 from 7568 Hudson Ave

Warren MI 48091 were on the concrete drive.
RESPONSE: Denied, as to the best of defendant’s knowledge, information and memory, the
vehicles were left on the grass.

92. | ADMIT/DENY two of the vehicles were taken from behind a privacy fence
RESPONSE: Defendant cannot truthfully admit or deny this request as after a reasonable
inquiry, the information defendant knows or can readily obtain is insufficient to enable defendant
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plaintiff's picture of a wooden fence but plaintiff's photo is so blurred and light that one cannot
see precisely where the wooden fence is (or on which property it is located) in order to refresh
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parked on the grass and is unable to recall if any vehicle was behind a privacy fence.

94. Admit/Deny that you entered the property 7568 Hudson Ave Warren MI 48091
5/1/20 and towed 4 vehicles without ever seeing a search warrant
RESPONSE: Defendant admits that on 5/1/20 he, on behalf of the company, did not tow all 4

vehicles and that he did not see a search warrant but in practice and custom, law enforcement

does not normally show towing companies or their drivers search warrants.

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AFFIDAVIT OF PLAINTIFF ELIZABETH NELSON
Now comes the affiant under the penalty of perjury per 28 USC Section 1746 and avers:

1), Everything is true in the complaint and amended complaints and motion for summary
judgment same as if rewritten herein

2) All exhibits are copies of originals

3) Affiant was in Ohio when notified cars missing, “self isolating” since she is deemed “at
risk” for COVID 19

4) Doctor @ Eastern Michigan told affiant “do not come to Michigan because everything is
going crazy because of COVID 19.

5) Affiant contacted ALBERT THROWER who was “self isolating being treated for
prostrate cancer at METROHEALTH CLEVELAND OHIO, to drive her to WARREN
MICHIGAN to retrieve her vehicles

6) Affiant was terrified to travel to Michigan and have to interact with people while the
COVID 19 was raging.

7) On 7/5/21, affiant took an ambulance to ASCENSION HOSPITAL 12 Mile & Hoover
and was admitted for an infection.

8) Affiant pulled her 2008 Honda Civic behind house at 7568 Hudson Ave Warren Mi.

9) Honda was operable

10) Affiant was informed by ALBERT THROWER-LANDLORD THAT Warren Police,
SERVICE TOWING INC., ROBERT SCOTT, JAMES CUMMINS, AND OTHERS
HAD TOWED HER CAR.

11) Upon obtaining release of her car affiant notice that paint was missing where SERVICE
TOWING INC., had towed her car from the rear

12) When towing her car, Warren Building Inspector and Robert Scott took her mower,
WEBER grill, which pursuant to CITY COUNCIL ORDANCE 4/28/21 she was allowed
to have. Affiant never received grill back and mower was broken when retrieved from
Service Towing Inc., since thrown upside down in landlords 2011 Silverado which was
towed at the same time.

13) Affiant needs DISCOVERY to name defendants that towed affiants cars 5/1/20 for
liability, interrogatories, compensation & authenticate “chain of evidence” matters

Pursuant to Title 28 USC Section 1746 the affiant avers under the penalty of perjury that
everything is true
5/18/2023

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Affiant Elizabeth Nelson

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